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 6
                                   UNITED STATES DISTRICT COURT
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 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

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12
      Jennifer Pardo and Evangeline Matthews,
13
       individually and on behalf of all others
14
                   similarly situated,             Case No.: 3:21-cv-06326-RS
15

16
           Plaintiffs,                             DECLARATION OF ALISON T. ROSE
17
           vs.
18

19
     PAPA, Inc.,
20
           Defendant.
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                                                   DECLARATION OF ALISON T. ROSE
 1   I.             QUALIFICATIONS

 2   1.            I am a Partner at Resolution Economics LLC, a firm whose activities include

 3   performing economic and statistical analyses in connection with litigation matters. At

 4   Resolution Economics, I have provided consulting and/or expert services in more than 200 class-

 5   action and single-plaintiff matters alleging wage and hour violations under the FLSA and/or

 6   analogous state laws. I hold B.A. and M.A. degrees in Economics from the University of

 7   Southern California and an M.A. in Survey Research from the University of Connecticut. I have

 8   been designated as an expert in a number of matters, prepared expert reports, and have provided

 9   expert testimony in Federal and State Courts, and arbitrations. My resume and list of testimony

10   provided during the past four years are attached to this report as Attachment A. My hourly rate

11   for all services rendered is $750, which is the rate I customarily charge for both consulting work

12   and expert testimony.

13

14   II.            ASSIGNMENT

15   2.            I have been retained by counsel to defendant Papa, Inc. (“Papa”) to review data, and

16   other case documents regarding the experiences and activities of the Pals who provide services to

17   Papa’s members relative to Plaintiff’s Motion for Class Certification. In connection with this

18   assessment, I will address: 1) Whether the available data provides sufficient information in order

19   to derive reliable measures of expenses incurred by Pals; 2) Whether the IRS rate can be used to

20   reliably determine vehicle-related expenses; 3) Whether the data shows variation in the types of

21   and durations of visits conducted; and 4) Whether the data provides sufficient information in

22   order to be able to reliably compute hours worked.

23

24          III.    AVAILABLE DATA AND DOCUMENTS

25   3.            In connection with this assignment, I have received and analyzed a number of

26   electronic records as well as case filings and associated exhibits.1

27

28
     1
         A complete list of data and documents reviewed is provided as an attachment to this declaration.
                                                       2
                                        DECLARATION OF ALISON T. ROSE
 1   4.         Pals List – This data contains a list of 3,872 unique Pal ID’s corresponding to

 2   individuals who provide services to customers through the Papa app in California during the

 3   period August 12, 2018 through May 1, 2024. This data includes three columns, the Pal ID,

 4   Status, and Date of Move. Pal ID is a unique identifier for Pals. The status can either be

 5   “Movers” or “Still residing”. If their status is “Movers” then the column Date of Move is

 6   populated with a date ranging from October 6, 2020 to August 25, 2021.

 7

 8   5.         Vehicle Data –The Vehicle Data includes 3,569 records for 3,127 unique Pal IDs. The

 9   relevant fields also include the Make, Color, Year, and Model of the vehicle in question.

10   Additional fields of Creator ID, Inserted At and Updated At describe who created the record and

11   when the record was created or updated. The “Inserted At” field includes dates from 07/26/2019

12   to September 3, 2024. Within the Vehicle Data, some vehicles appear to be repeated. The unique

13   combination of Pal ID, Make, Color, Year, and Model was considered to be a unique vehicle

14   based on the assumption that no Pals shared a single vehicle. In total, 3,437 unique vehicles are

15   listed in the data.2

16

17   6.         Visit Data – The visit data includes 253,925 records for each scheduled visit, each

18   being unique by the Visit ID. The data also includes 3,871 unique Pals that performed the visits.

19   The relevant fields also include a Papa ID, whether the visit was virtual or not, commute

20   distance, scheduled duration of visit in minutes (“Duration Minutes”), the observed duration of

21   the visit in minutes (“Observed Duration Minutes”), the override duration in minutes (“Override

22   Duration Minutes”), the state of the visit, timestamp and date for when the commute started,

23
     2
24     Some vehicle records appeared to have incomplete information, i.e. missing Make, Model,
     Year or Color. The Make field was unrecorded for 1,326 vehicles, the Model field was
25   unrecorded for 243 vehicles, the Year field was unrecorded for 276 vehicles, and the Color field
     was unrecorded for 262 vehicles. For the purpose of analyzing the data, the Make field was
26   populated based on data from the Model field when possible. For example, some Model fields
     included a Make such as “Toyota Camry”. In other cases the Make could be determined based on
27   the Model. For example, if the Model was “Accord” then the Make was considered to be
28   “Honda”. In this manner, the Make field was populated for 875 vehicles with unrecorded Make
     fields. The remaining 451 Make fields were considered as “blank”.
                                                       3
                                      DECLARATION OF ALISON T. ROSE
 1   timestamp and date for when the visit was scheduled for, timestamp and date for when the visit

 2   started, timestamp and date for when the visit was completed. Papa ID pertains to the customer

 3   who is serviced by the visit. The state of the visit has possible values of “accepted”,

 4   “completed”, “confirmed”, “enroute”, “expired”, “reviewed”, “started”, and “terminated”. The

 5   visits data includes visits from before the statute of limitations and from planned for the future

 6   hence the data ranges from February 6, 2018 to December 31, 2024, but the last visit that was

 7   started and completed appears on Septebmer 12, 2024.3 A total of 252,987 visits occurred

 8   between August 12, 2018 and September 12, 2024.

 9

10   7.        Task Data –The task data includes 1,246,177 records reflecting each task that Pals

11   performed during visits. The data includes 253,925 unique Visit IDs, which correspond to the

12   Visit IDs in the Visit Data. The relevant fields also include the Task Name, Visit Objective

13   Description, Visit Objective Information, Visit Task Inserted at, Whether the Task Required a

14   Vehicle, and if the Visit Objective was Checked. The “Visit Task Inserted At” presents the time

15   when the record for the Visit Task was created or updated rather than the time that the Visit Task

16   occurred. The Visit Task Insert At timestamps in this dataset range from April 10, 2019 to

17   September 12, 2024.4

18

19   8.        App Data - The app data includes 49,981,610 records each and shows times stamps

20   for various activities recorded by the Papa app. This data includes the Pal ID, Visit ID, the action

21   that the actor (Pal or Other) took in the app (event), event description, timestamp and date of the

22   app action, and the event source. The app data ranges from February 6, 2018 to September 13,

23   2024. Examples of the event descriptions include “Application Opened”, “Visit Screen

24   Viewed”, “Available Visits List Viewed”, and “Visit Accepted”.5
     3
25     These visits reflect all visits for Pals active through May 1, 2024. One visit in the visits data
     has a commute that started on Sept 5, 1989. The data appears to have been pulled up to
26   9/12/2024, which would be the last day with visits worked.
     4
       209,182 / 253,925 of visits (82.4%) have a Visit Task Insert At timestamp before the visit and
27   44,732 / 253,925 of visits (17.6%), the earliest Visit Task Insert At timestamp is during or after
28   the Visit.
     5
       Only a single time stamp is recorded with each event rather than a set of time stamps from
     which a duration could be computed. Multiple events can share the same time stamp.
                                                           4
                                      DECLARATION OF ALISON T. ROSE
 1

 2          IV.    INTRODUCTION

 3   9.           Plaintiffs’ Motion for Class Certification seeks certification of a group of individuals

 4   referred to as “Pals” who provided services as independent contractors to customers through the

 5   Papa app from August 12, 2018 to present.6 In connection with their allegation that Pals were

 6   misclassified as independent contractors, Plaintiffs allege that Papa failed to pay minimum wage

 7   and overtime, failed to provide meal and rest breaks, and failed to reimburse for necessary

 8   business expenses.7 Their trial plan appears to be limited to a footnote where they describe a

 9   phased proceeding where the misclassification issue would be determined first and then liability

10   for the remaining claims would be resolved in a separate phase.8 In this brief description of the

11   proposed process, they note that the second phase would include “expert and/or representative

12   testimony”.9 However, Plaintiffs present no analysis indicating 1) How they intend to manage

13   individualized issues with respect to incurred expenses; 2) How they intend to demonstrate

14   failure to pay minimum wage and/or overtime; or 3) How they intend to demonstrate failure to

15   provide meal and rest breaks. With respect to each of these items, the available data suggests

16   that individualized inquiry may be required to determine liability and subsequent damages, if

17   any.

18

19   10.          First, the data I have reviewed is insufficient for making determinations about

20   expenses incurred by Pals. As described in detail below, vehicle, phone and internet expenses

21   are likely to be highly individualized. First, phone and internet costs will vary by Pal based on

22   what service provide and plan they selected. For example, if a Pal’s cell phone is part of a

23   family plan, the question of how to allocate expenses to their line have not been addressed by

24   Plaintiffs. Plaintiffs have also failed to specify how internet expense should be computed if a Pal

25   is using public or otherwise free Wi-Fi to conduct a visit or other alleged work-activities. The

26   analysis of expenses could be further complicated if Pals also perform work for other app-based

27   6
       Plaintiffs’ Motion for Class Certification; page 2.
     7
28     Plaintiffs’ Motion for Class Certification; page 11.
     8
       Plaintiffs’ Motion for Class Certification; page 25, footnote 60
     9
       Ibid.
                                                        5
                                        DECLARATION OF ALISON T. ROSE
 1   companies (i.e. whether they are also running Uber, Lyft, Instacart, or other applications on their

 2   phone that are using data at the same time they are running the Papa app), and how any costs for

 3   that time should be allocated to Papa.

 4

 5   11.       With respect to vehicle expenses, while Plaintiffs make mention of using the IRS rate

 6   as a comparator to what Papa used when it did reimburse Pals for some mileage expenses,10 they

 7   have not presented any plan for how to determine what expenses Pals actually incurred with

 8   regard to mileage. Further, many Pals either do not have a vehicle recorded in the Papa system

 9   or do not conduct any visits that required a vehicle. As described below, the IRS rate is not

10   likely to be a reliable measure of actual vehicle expenses and will overstate the true expenses

11   incurred for many Pals based on the make, model and year of the vehicle they operated while

12   conducting visits. Further, the data also demonstrates that the 45 cents per mile reimbursement

13   received likely over-reimbursed many Pals related to their actual expenses.11

14

15   12.       In order to analyze issues related to minimum wage, overtime, and breaks, a measure

16   of hours worked will be required. As described in detail below, the data I have reviewed is

17   insufficient to determine hours spent outside of completing a visit and in fact, frequently

18   demonstrates that Pals do not record the end time of started visits which leads to incomplete

19   information about visit duration. To the extent Plaintiffs would propose using the apps data to

20   compute hours worked, the single time stamp per event does not allow for a duration to be

21   computed from the data itself and would require additional information. In addition, Plaintiffs

22   have not provided a proposed method for identifying and quantifying alleged work-related

23   activities that occur outside of the app such as orientation and training. Finally, the data

24   demonstrates variation in the types and duration of visits and recorded visit times suggest many

25

26
     10
       Plaintiffs’ Motion for Class Certification; page 23
27   11
       See JP000333 listing $0.45 per mile reimbursement for Transportation Pay. “You are paid for
28   miles you travel during a visit, whether with or without the member. For example, when you
     drive a Papa member to the pharmacy or grocery store or the member asks you to drive and drop
     off a package.”
                                                       6
                                      DECLARATION OF ALISON T. ROSE
 1   Pals are unlikely to have worked overtime hours or to have been eligible for meal and rest

 2   breaks.

 3

 4         V.         BUSINESS EXPENSES

 5

 6              A.       Cell Phone and Internet-related expenses are likely to vary among Pals and

 7                       depend on several individualized factors

 8   13.             Plaintiffs’ Motion for Class Certification does not propose a methodology for

 9   determining the amounts for phone and/or internet expenses incurred by Pals. These expenses

10   are likely to be highly individualized depending on the service provider and plan selected.

11   According to the California Public Utilities Commission, there are 11 cellular carriers operating

12   in California:

13                  AT&T Mobility

14                  Boost Mobile

15                  Gen Mobile

16                  Metro by T-Mobile

17                  METROPCS

18                  Republic Wireless

19                  Ting Mobile

20                  T-Mobile

21                  Twigby

22                  UScellular

23                  Verizon Wireless12

24

25   Each of these providers offers a number of service plans at various price points. For example, T-

26   Mobile’s website lists a number of single phone line plans for a new customer ranging from $50

27   per month for an “Essentials Saver” plan to $100 per month for a Go5G Next plan, with others

28   12
      See https://apps.cpuc.ca.gov/apex/f?p=102:1::::RP:: limited to Utility Type = “CEC”.
     Accessed 9/25/2024
                                                     7
                                          DECLARATION OF ALISON T. ROSE
 1   available at $60, $75, or $90 per month.13 On their website Verizon lists three available single

 2   line phone plans for new customers including $65 per month for an “Unlimited Welcome” plan,

 3   $80 per month for an “Unlimited Plus” plan and $90 per month for an “Unlimited Ultimate”

 4   plan.14 On Twigby’s website, they offer 4 plans ranging from $5 per month to $25 per month for

 5   new customers.15 These examples demonstrate the range of available prices across and within

 6   cell phone providers for a single line plan. Just for these three of eleven providers, a single line

 7   phone plan could range from $5 per month at Twigby to $100 per month at T-Mobile. Further,

 8   these companies likely offer different pricing per line depending on the number of lines added to

 9   the plan. For example, Verizon’s “Unlimited Ultimate” plan decreases from $90 for a single line

10   plan to $52 per line for a 5+ line plan.16 Thus, in order to determine actual cell phone and data

11   expenses incurred by a Pal, detailed individualized inquiry regarding their cell phone plan would

12   likely be required. The variation in available plans and the associated costs also suggests that

13   using an average from a group of Pals called to testify about their expenses would likely result in

14   large over- or understatement of their actual monthly expenses.

15

16   14.       However, even if each Pal’s monthly cell phone bills were available, that detailed

17   information would still be insufficient for determining their actual expenses as it is unlikely that

18   Pals have a cell phone and separate plan dedicated only to their work as a Pal. Thus, the pro rata

19   share of their monthly bill attributable to performing services as a Pal would also need to be

20   determined. This would include considerations for features of their plan inapplicable to

21   providing services to Papa and what portion of the time the Pal uses the phone and data plan for

22   performing services for Papa versus personal or other use. For example, if a Pal added an

23   international data plan to their line for a vacation abroad, this charge would need to be subtracted

24   before apportioning the remainder of the bill between use for providing services to Papa and

25   personal or other use.

26   13
        https://www.t-mobile.com/cell-phone-plans Accessed 9/25/2024.
     14
        https://www.verizon.com/sales/nextgen/plans/popularplan.html?line=newLine1&mtnFlow=P
27   Accessed 9/25/2024, 90045 zip code.
     15
28      https://www.twigby.com/page/howitworks Accessed 9/25/2023 These rates increase by $10 per
     month after the first 3 months.
     16
        Ibid.
                                                     8
                                      DECLARATION OF ALISON T. ROSE
 1

 2   15.         Plaintiffs have also failed to identify what they allege constitutes reimbursable use of a

 3   Pal’s cell phone. For example, they have not indicated if any use of the app would constitute a

 4   reimbursable activity or if it would only apply when a visit was being conducted. If they were to

 5   allege the former, for example, this creates an additional layer of complication in determining the

 6   appropriate pro rata share of the bill attributable to providing services as a Pal if the Pal uses

 7   other apps to perform services for other companies such as Uber, Lyft, Instacart, Door-Dash, etc.

 8   and utilizes the Papa app simultaneously. For example, if they provide Uber or Lyft rides in

 9   between Papa visits while still logged into the Papa app, additional individualized inquiry would

10   be required to determine the correct allocation of their phone costs.17

11

12          B.       Many Pals never conduct a visit requiring a vehicle

13   16.         The visits data indicates that many visits can be conducted without the use of a vehicle

14   or can be conducted virtually. In-person visits that would not require a person to have their own

15   vehicle include companionship, exercise, house tasks, pet help, etc. Virtual visits include,

16   among others, companionship, reminders, tech help. Of the 155,133 completed visits in the data,

17   131,117, or 84.5% note that a vehicle is not required.18 Of the 3,849 pals who completed a visit,

18   2,056, or 53.4% never conducted a visit that requires the use of a vehicle. Thus, these Pals

19   would not have been expected to incur any mileage costs.19

20

21

22

23
     17
       For example, Pal Kellie Hynds reported in her declaration that she also performs work for Uber
24   Eats. (See Declaration of Kellie Hynds; paragraph 9). Pal Nancy Gonzales stated in her
     declaration that she also performs work for Uber and Lyft, even on the same days she performs
25   work as a Pal. (See Declaration of Nancy Gonzales; paragraph 8).
26   18
        A “completed” visit is any visit where the data indicates the visit was conducted meaning a
     start time was recorded or some duration is credited to the Pal. This would not include cancelled
27   visits.
     19
28      It is my understanding that commute to and from the Papa member’s location for a visit would
     not constitute reimbursable mileage if Papa is found to have misclassified them as independent
     contractors.
                                                        9
                                       DECLARATION OF ALISON T. ROSE
 1          C.       The vehicles listed in the Vehicle data by Pals vary by Year, Make and Model

 2                   with many reporting incomplete information or listing multiple vehicles

 3   17.         The available data includes 3,437 unique Year, Make, Model and color combinations

 4   recorded in the Papa Vehicle data by 3,127 Pals. Excluding color from the detail, there are 3,436

 5   unique Year, Make, Model combinations listed.20 Some pals list a single vehicle (Year, Make,

 6   Model, Color combination) in the app while others list up to four. Complicating the assessment

 7   of actual vehicle expenses are the 7.49% of Pals who list two or more vehicles in the Vehicle

 8   data because the data does not indicate which vehicle was used for which visit. Thus, to the

 9   extent that actual costs vary by vehicle, determining actual expenses would likely require

10   individualized visit-by-visit inquiry regarding which vehicle was used. For example, Pal ID

11   01764d32-8d40-45f5-bce6-93854ee093bf recorded a 2005 Ford Mustang and a 2019 Chevy

12   Cruze in the Vehicle data. According to the U.S. Department of Energy, a 2005 Ford Mustang

13   can be expected to achieve a combined city/highway gas mileage of 19 miles per gallon21 while a

14   2019 Chevy Cruze is expected to achieve a combined city/highway mileage rating of 33 miles

15   per gallon.22 Even if no other vehicle-related costs varied (including depreciation, maintenance

16   and repairs, etc.), this Pal would be expected to incur very different fuel costs depending on

17   which vehicle they used to conduct a given visit.

18

19

20

21

22   20
        As noted below, trim and features also impact the cost to own according to Edmunds.com and
     are not recorded in the Vehicle data. For example, the cost to operate a 2018 Toyota Prius with
23   Trim “Four Touring 4dr Hatchback 1.8L 4cyl gas/electric hybrid CVT” will differ from a 2018
24   Toyota Prius with Trim “Two Eco 4dr Hatchback 1.8L 4cyl gas/electric hybrid CVT”. See
     https://www.edmunds.com/toyota/prius/2018/cost-to-own/?style=401741152
     21
25      Assuming a 4.0 L, 6 cyl Automatic 5-spd. See
     https://www.fueleconomy.gov/feg/PowerSearch.do?action=noform&path=1&year1=2005&year2
26   =2005&make=Ford&baseModel=Mustang&srchtyp=ymm&pageno=1&rowLimit=50 Accessed
     9/25/2024.
27   22
        Assuming a 1.4 L, 4 cyl Automatic (variable gear ratios, Turbo, Regular Gasoline See
28   https://www.fueleconomy.gov/feg/PowerSearch.do?action=noform&path=1&year1=2019&year2
     =2019&make=Chevrolet&baseModel=Cruze&srchtyp=ymm&pageno=1&rowLimit=50
     Accessed 9/25/2024.
                                                      10
                                     DECLARATION OF ALISON T. ROSE
 1   18.                          Exhibit 1 presents the distribution of the number of vehicles listed in the Vehicle data

 2   per Pal.23 As shown on Exhibit 1, 19.24% of Pals have no vehicles listed, 73.27% have a single

 3   vehicle listed and 7.49% have two or more vehicles listed in the Vehicle data.

 4

 5   Exhibit 1: Distribution of the Number of Vehicles Recorded by Pals in the Vehicle data

 6                             100%

 7                             90%

 8                             80%
                                                          73.27%
 9
                               70%
10
          Percentage of Pals




                               60%
11
                               50%
12

13                             40%

14                             30%
15                                       19.24%
                               20%
16
                               10%                                          7.02%
17
                                                                                              0.41%           0.05%
                                0%
18
                                            0                1                2                 3               4
19                                                                 Count of Vehicles Listed

20

21   19.                          As discussed in detail below, publicly available sources for the cost to own and

22   operate a vehicle rely, in part, on the Year, Make and Model of the vehicle. Thus, in order to

23   assess cost, these components would certainly be needed. However, these details are incomplete

24   for many vehicles listed by Pals in the Vehicle data. While some were able to be filled (for

25   example, if an Accord was listed with no Make, one can reasonably assume the Make is

26   “Honda”), others cannot be identified without more information. For example, Pal ID

27   00b6a4bb-dc82-4afd-9f0c-f9fe8321ad80 has one record for a 2020 Honda Accord and a second

28   record just stating “Honda”. It is unclear if this was a second record for the same 2020 Accord
     23
          This includes those with incomplete information listed.
                                                       11
                                                        DECLARATION OF ALISON T. ROSE
 1   or a different Model and Year. Another Pal, ID 9eeedfd9-7749-4ddf-8133-725b48db6967, listed

 2   a single car in the app with no Make, the word “Model” in the Model field, 2000 as the year and

 3   the word “Color” in the Color field. Clearly, in order to determine what the vehicle costs were

 4   for these vehicles would require additional information about the actual Year, Make or Model.

 5

 6   20.                                        First, the data shows variation in Model Year of the Pal’s vehicles. Exhibit 2 presents

 7   a distribution of the recorded Model Years in the Vehicle data, showing years listed from 1990 to

 8   2024, a spread of 34 years.

 9

10   Exhibit 2: Distribution of the Vehicle Model Years Recorded by Pals in the Vehicle data24

11                                        10%

12                                        9%
                                                 8.0%




                                                                                                                            7.8%
13




                                                                                                                          7.4%
                                                                                                                         7.3%
                                          8%




                                                                                                                  6.9%
14




                                                                                                                 6.7%
          Percentage of Vehicles Listed




                                          7%
15

                                                                                                          5.5%
                                          6%


                                                                                                        5.2%
16




                                                                                                                                   4.6%
                                                                   4.2%




17                                        5%




                                                                                                                                             3.8%
                                                                                                 3.7%



18
                                                                                               3.3%




                                                                                                                                          3.3%
                                          4%
                                                                                             3.1%




                                                                                             3.1%




19
                                                                                         2.4%
                                                                                        2.3%
                                                                                        2.3%




                                          3%
                                                                                        2.2%




                                                                                                                                                    2.0%
20
                                                                                 1.4%




                                          2%
                                                                              1.0%
                                                                             0.9%




21
                                                          0.4%


                                                                          0.3%
                                                          0.3%




                                                                                                                                                           0.3%
                                          1%
                                                        0.1%
                                                        0.1%
                                                        0.1%
                                                        0.1%




22
                                          0%
23
                                                    0
                                                 1990
                                                 1991
                                                 1995
                                                 1997
                                                 1998
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                                                 2002
                                                 2003
                                                 2004
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                                                 2021
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                                                 2023
                                                 2024



24                                                                                         Model Year

25

26

27
     24
       Model Year “0” indicates a record without missing value for Model Year. The value “2000” for
28   Model Year also appeared in records where Make was unlisted and the Model value was simply
     “Model”.
                                                    12
                                                                      DECLARATION OF ALISON T. ROSE
 1

 2   21.                                     In addition to variation in Model Year, the vehicles recorded in the Vehicle data

 3   include 33 unique Makes, as well as some “Blank” entries indicating that a Year, Model or Color

 4   was listed but Make was left blank in the data. The frequency distribution of recorded Makes is

 5   presented on Exhibit 3. As shown on this exhibit, 16.58% of vehicles recorded have no listed

 6   Make (“BLANK”). The most common Make is Toyota (17.5%), followed by Honda (12.0%),

 7   and Nissan (8.4%). The value “Other” is also recorded in the data for 3.5% of listed vehicles.

 8

 9   Exhibit 3: Distribution of the Vehicle Makes Recorded by Pals in the Vehicle data




                                                                                                                                                                                   17.49%
10                                     20%

11                                     18%

                                       16%
                                              13.12%




12
       Percentage of Vehicles Listed




                                                                                                           12.02%
                                       14%
13
                                       12%
14




                                                                                                                                                                8.44%
                                       10%
15
                                                                                         6.58%
                                                                   5.99%




                                       8%
                                                                                                                                          5.44%

16
                                                                                                                    5.03%




                                       6%




                                                                                                                                                                                                    3.46%
17
                                                                                                                                  2.53%
                                                                                 2.50%




                                                                                                                                                                                                 2.50%
                                                                                                                                                        2.30%

                                                                                                                                                       1.98%
                                                           1.89%




                                       4%




                                                                                                                                                                           1.22%
                                                                                                                                                    0.93%

18
                                                                                                                                                    0.84%
                                                                                                   0.81%
                                                       0.67%
                                                       0.67%


                                                       0.58%




                                                                                                                                                                         0.58%
                                                       0.49%


                                                                            0.49%




                                                                                                                             0.26%




                                                                                                                                                                                            0.26%
                                                                           0.20%




                                                                                                                                                  0.17%


                                                                                                                                                  0.17%



                                                                                                                                                                        0.15%
                                                                                                 0.09%




                                                                                                                                                  0.09%
                                                                                                                            0.03%




                                       2%
19
                                       0%
                                                    NISSAN
                                                       RAM
                                                CHEVROLET


                                                       FIAT


                                                       GMC
                                                   GENESIS




                                                       JEEP
                                                    BLANK


                                                      BMW
                                                    ACURA
                                                      AUDI

                                                     BUICK
                                                 CADILLAC




                                                      FORD


                                                    HONDA




                                                     TESLA
                                                   TOYOTA
                                                  HYUNDAI
                                                   INFINITI


                                                        KIA

                                                  LINCOLN
                                                    MAZDA

                                                 MERCURY
                                                       MINI
                                                MITSUBISHI


                                                   SUBARU



                                                    VOLVO
                                                    OTHER
                                                   JAGUAR
                                                    DODGE




                                                 MERCEDES




                                              VOLKSWAGEN
                                                 CHRYSLER




                                                     LEXUS




20

21

22

23                                                                                                                    Vehicle Make

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                                                                                                                            13
                                                                               DECLARATION OF ALISON T. ROSE
 1

 2             D.      The IRS rate likely overstates the actual costs for many Pals, particularly for

 3                     those driving older vehicles.

 4

 5   22.            In their motion, Plaintiffs mention the IRS rate as a comparator to the 45 cents per

 6   mile rate that Pals were reimbursed for mileage by Papa as Transportation Pay.25 However,

 7   publicly available information suggests that the IRS rate, used for tax deduction purposes, will

 8   not reliably reflect the actual per mile expenses incurred by Pals. IRS publications confirm that

 9   the IRS rate is not intended to be a measure of actual expenses for operating any particular

10   vehicle but instead show that the business standard mileage rate is intended for tax purposes.

11   The IRS publications state the mileage rates are, “optional standard mileage rates for computing

12   the deductible costs of operating an automobile for business, medical, or moving expense

13   purposes and for determining the reimbursed amount of these expenses that is deemed

14   substantiated.”26 The IRS provides three rates based on what type of activities are performed.

15   For example, the 2018 deduction rate for self-employed/business use was 54.5 cents per mile.

16   However, driving for medical appointments and military moving had a tax deduction rate of 18

17   cents per mile and driving on behalf of charities had a tax deduction rate of just 14 cents per

18   mile.27

19

20   23.            Since 1980, MOTUS (or its previous affiliate Runzheimer International) has

21   provided the underlying data to the IRS for purposes of computing the mileage reimbursement

22   rates.28 The former CEO of MOTUS, Craig Powell, described the IRS rate as a safe harbor rate.

23   He stated, “The IRS business mileage standard is a go-to reimbursement method for many

24   businesses and individuals, but it actually wasn’t intended to be a reimbursement rate. It was

25   established as a watermark that companies can’t reimburse over without incurring taxes or

26   25
        Plaintiffs’ Motion for Class Certification; page 23.
     26
        https://www.irs.gov/tax-professionals/standard-mileage-rates
27   27
        https://www.irs.gov/tax-professionals/standard-mileage-rates
     28
28      See https://www.motus.com/blog/2024-irs-standard-mileage-
     rate/#:~:text=On%20December%2014th%2C%202023%2C%20the,65.5%20cents%20by%201.5
     %20cents. Accessed 8/14/2024.
                                                        14
                                         DECLARATION OF ALISON T. ROSE
 1   defensibly demonstrating the business expense above the safe harbor rate.”29 Similarly, in a

 2   press release from Runzheimer dated December 13, 2016, Runzheimer SVP of Business

 3   Development, Donna Koppensteiner, also referred to the IRS rate as a safe harbor. She states,

 4   “Factors contributing to the decision on this year’s slight decrease in the Safe Harbor

 5   reimbursement rate include declining fuel prices, which were largely offset by rising vehicle

 6   insurance and maintenance costs.”30 She went on to say, “The IRS safe harbor rate establishes a

 7   standard rate on the amount an individual can deduct for business vehicle expenses. The IRS

 8   uses our research, data and recommendation to construct an accurate standard mileage rate.”31

 9

10          E.      The IRS rate overstates costs for older vehicles, particularly with respect to
                    depreciation.
11

12
     24.         The IRS rate includes depreciation, which means that it will overstate the true cost to
13
     operate older vehicles because depreciation happens rapidly in the first few years after first
14
     being purchased as new compared to later years. While the IRS does not provide a detailed
15
     breakdown of each underlying component of its mileage reimbursement rates, it does provide
16
     information on the value of depreciation. Documentation provided by MOTUS to the IRS in
17
     March 2019 states that the IRS computes depreciation as “the average annual decrease in
18
     vehicle value from the time it was new until the end of the program retention cycle.”32 In this
19
     regard, I am familiar with the decision of the Sixth Circuit Court of Appeals in Parker v. Battle
20
     Creek Pizza, which concluded that “the estimation of depreciation costs in the IRS rate is
21
     weighted toward newer vehicles, which tends to overpay drivers of older vehicles.”33 This is an
22
     accurate statement. Exhibit 4 below provides a breakdown of the IRS mileage rate for tax
23

24   29
        https://www.businesswire.com/news/home/20191231005180/en/2020-IRS-Business-Mileage-
25   Rate-of-57.5-Cents-Informed-by-Motus-Cost-Data-and-Analysis Accessed 8/12/2024
     30
        https://www.prnewswire.com/news-releases/runzheimer-data-sets-2017-irs-business-mileage-
26   rate-at-535-cents-300377426.html Accessed 8/12/2024
     31
        https://www.prnewswire.com/news-releases/runzheimer-data-sets-2017-irs-business-mileage-
27   rate-at-535-cents-300377426.html Accessed 8/12/2024.
     32
28      See https://www.governmentattic.org/33docs/IRSrunzheimerVehMileageCosts_2018.pdf, page
     15 “Annual Vehicle Cost”. Accessed 8/20/2024.
     33
        Parker v. Battle Creek Pizza, Inc., No. 22-2119 (6th Cir. 2024); page 9
                                                      15
                                      DECLARATION OF ALISON T. ROSE
 1   purposes showing the total rate, the portion of the rate that is depreciation and the percentage of

 2   the rate that is depreciation. As shown on Exhibit 4, depreciation as a percentage of the total

 3   rate ranges from 41.6% to 47.0%.

 4

 5   Exhibit 4: Summary of the IRS Business Standard Mileage Rate and the Portion of that

 6   Rate Due to Depreciation34

 7

 8                                  IRS Rate      Depreciation      Depreciation as a
 9                Year                                              Percent of the IRS
                                    (cents per      (cents per            Rate
10                                     mile)           mile)
11                2018                 54.5             25                45.87%
                  2019                  58              26                44.83%
12                2020                 57.5             27                46.96%
13                2021                  56              26                46.43%
           1/1/2022-6/30/2022          58.5             26                44.44%
14         7/1/2022-12/31/2022         62.5             26                41.60%
15                2023                 65.5             28                42.75%
                  2024                  67              30                44.78%
16

17
     25.          What is important to note about the depreciation for tax purposes is that after 6
18
     years, almost the entire car is depreciated. IRS Publication 463 provides the following
19
     explanation of depreciation for tax purposes:
20

21

22

23

24

25

26

27

28
     34
          https://www.irs.gov/tax-professionals/standard-mileage-rates Accessed 8/12/2024.
                                                        16
                                       DECLARATION OF ALISON T. ROSE
 1

 2   “Example. In 2018, you bought and placed in service a car for exclusive use in your business.
     The car cost $25,500. From 2018 through 2023, you used the standard mileage rate to figure
 3   your car expense deduction. You drove your car 14,100 miles in 2018, 16,300 miles in 2019,
     15,600 miles in 2020, 16,700 miles in 2021, 15,100 miles in 2022, and 14,900 miles in 2023.
 4   The depreciation
     portion of your car expense deduction is figured as follows:
 5
          Year        Miles       Rate Depreciation       Depreciation Amount
 6         2018      14,100             $0.25                    $3,525
 7         2019      16,300             $0.26                    $4,238
           2020      15,600             $0.27                    $4,212
 8         2021      16,700             $0.26                    $4,342
           2022      15,100             $0.26                    $3,926
 9         2023      14,900             $0.28                    $4,172
10        Total Depreciation`                                   $24,415
     At the end of 2023, your adjusted basis in the car is $1,085 ($25,500 − $24,415).”35
11

12
     26.          There are two key takeaways from the IRS’s explanation of depreciation. First, the
13
     value of the vehicle will be close to zero well before the end of its useful life. Second, the
14
     amount of depreciation a taxpayer can claim on a vehicle is capped. Once the vehicle is fully
15
     depreciated, then taxpayers can no longer claim the depreciation portion of the rate. Thus, even
16
     if one were to apply the IRS rate, then one would have to determine the total mileage of the
17
     vehicle to assess whether it was fully depreciated. If this rule were applied to a 2018 vehicle
18
     after it was fully depreciated in 2024, then the mileage rate a Pal could deduct for tax purposes
19
     would be 37 cents per mile (the 2024 IRS mileage rate of 67 cents per mile minus 30 cents per
20
     mile of depreciation).
21

22
     27.          Depreciation is a substantial portion of the cost of ownership and of the IRS rate and
23
     therefore the amount (if any) of depreciation needs to be considered to determine any Pal’s
24
     expenses at any given time. But, given the model years of the Pal’s vehicles, the bulk of
25
     depreciation is likely to be unrelated to times when they were conducting visits for Papa
26
     members. For example, the most significant depreciation occurs when a new car is driven off a
27
     dealer lot. The loss in value (depreciation) associated with driving the vehicle off the dealer’s
28
     35
          https://www.irs.gov/pub/irs-pdf/p463.pdf
                                                        17
                                       DECLARATION OF ALISON T. ROSE
 1   lot is unrelated to performing services as a Pal. In addition, every year the vehicle is a model

 2   year older. Year-over-year depreciation, depreciation due to supply and demand for particular

 3   vehicles, or other market factors is also unrelated to using the vehicle to perform visits with

 4   Papa members.36 Finally, some depreciation is due to the condition of the vehicle. For

 5   example, going from excellent to good condition reduces resale value and correspondingly

 6   increases the depreciation in the vehicle. Since the depreciation expense per mile includes both

 7   usage-based depreciation and other types of depreciation, the cost of ownership estimates for

 8   depreciation provided by Edmunds overstates the depreciation associated with driving

 9   incremental miles conducting visits for Papa members. This illustrates the difficulty of

10   accurately estimating the actual expenses incurred by any Pal.

11

12          F.       Edmunds.com True-Cost-to-Own data shows variation in per miles costs

13                   across different Make, Model, Year combinations.

14   28.         Publicly available data published by Edmunds suggests vehicle expenses vary

15   depending on the make, model, year, and mileage of the vehicles used for Pal visits and are

16   consistently below the IRS mileage rate. More specifically, Edmunds’ True-Cost-to-Own guide

17   provides the 5-year costs of owning a vehicle including: fuel, insurance, maintenance, repairs,

18   taxes & fees, and depreciation.37 Edmunds describes its methodology for assessing different

19   categories of expenses as follows:

20
                “Taxes & Fees: This consists of the base sales (or use) taxes, license and
21
                 registration fees in your state, and gas-guzzler tax if applicable. These taxes and
22               fees are often based on a percentage of the purchase price and generally decrease as
                 the vehicle ages and loses its value. Note: The state sales/use tax rate that we use
23               includes the average local and county taxes assessed in that state.

24              Fuel: This expense is based on the revised EPA mileage ratings, assuming
                 consumption consists of 45% highway and 55% city driving and that the vehicle is
25
                 equipped with the transmission that is standard equipment for that vehicle. Cost
26   36
        Depreciation under the IRS rate is capped based on the value of the vehicle and miles driven.
     Once the tax basis goes to zero, typically in 5 to 6 years for vehicles used in commercial
27   endeavors, then there is no more depreciation allowed for tax purposes. While the tax basis for
28   the vehicle eventually hits $0, the market value is not $0. Thus, the IRS rate does not measure
     actual depreciation associated with performing work as a Pal.
     37
        https://www.edmunds.com/tco.html
                                                        18
                                      DECLARATION OF ALISON T. ROSE
                estimates are based on the current one-year moving average of self-service prices in
 1              your state, using regular unleaded gasoline for vehicles whose manufacturers require
 2              regular; premium unleaded gasoline for vehicles whose manufacturers recommend
                or require premium; or diesel fuel for diesel vehicles.
 3

 4             Maintenance: This is the estimated expense of the two types of maintenance:
                scheduled and unscheduled. Scheduled maintenance is the performance of factory-
 5              recommended items at periodic mileage or calendar intervals. Unscheduled
                maintenance includes wheel alignment and the replacement of items such as the
 6
                battery, brakes, headlights, hoses, exhaust system parts, taillight/turn signal bulbs,
 7              tires and wiper blades/inserts. Estimated tire replacement costs are supplied to
                Edmunds by The Tire Rack Inc.
 8

 9             Repairs: This is the estimated expense for repairs not covered by the vehicle
                manufacturer’s warranties over the five years from the date of purchase, assuming
10              15,000 miles are driven annually. We estimate this expense based on the cost of a
11              typical “zero deductible” extended warranty for the vehicle, minus the estimated
                amount of that cost that consists of the warranty provider’s overhead and profit.
12
               Insurance: - This is the estimated average annual insurance premium in your state.
13              The premium has been determined based on annual premium data for defined driver
                profiles and coverages (liability, comprehensive and collision) from a major national
14              insurer. While this information is specific to vehicle make, model, model year and
15              body type, your personal information is not taken into consideration and could
                greatly alter the actual premium quoted by an insurer. Factors that will affect your
16              rate include your age, marital status, credit history, driving record, and the garaging
                address of your vehicle.
17

18             Depreciation: This is the amount by which the value of a vehicle declines from its
                purchase price to its estimated resale value. The purchase price employed is the
19              vehicle’s Total Cash Price minus any taxes and fees included in that amount. We
20              estimate the resale value assuming the vehicle will be in “clean” condition, will be
                driven 15,000 miles per year, and will be sold to a private party.” 38
21

22
     29.        While financing charges are not included in the IRS mileage rate, some could argue
23
     that financing charges should be considered part of an expense rate. Edmunds includes an
24
     estimate of financing costs, but does not include information for leases.39 However, financing
25

26   38
        See https://www.edmunds.com/tco.html
     39
        “Financing: This is the interest expense on a loan in the amount of the Total Cash Price,
27   assuming a 10% down payment and a loan term of 60 months. The interest rate used is the
28   prevailing rate that banks and other direct automotive lenders are currently charging consumers in
     your geographic region who have above-average credit scores.” See
     https://www.edmunds.com/tco.html
                                                      19
                                     DECLARATION OF ALISON T. ROSE
 1   costs are individualized because a car may not have been financed at all and because financing

 2   is based on personal credit score and down payment/amount financed. Financing costs are

 3   unrelated to Papa and are a constant regardless of whether the Pal drives the car while

 4   conducting visits for Papa —i.e., financing costs do not incrementally increase with the miles

 5   driven while conducting visits.

 6

 7   30.        The Edmunds True-Cost-to-Own guide currently provides estimates for the model

 8   years 2018 through 2024 and has inputs for zip code, make, model, year, and “style” before

 9   presenting 5-year costs of ownership. The “style” input asks for even more detailed

10   information regarding various options and configurations (based model cars vs. premium trims).

11   Using the guide, one can experiment with plugging in different information regarding vehicle

12   make, model, year, and style to see the different estimates for various categories of vehicle

13   expense, holding zip code constant. This exercise illustrates that vehicle costs vary according to

14   each dimension the True-Cost-to-Own guide captures.

15

16   31.        Exhibit 5 presents the estimated per-mile cost to own and operate a Toyota Camry

17   model years 2018 through 2024 in zip code, 95694.40 The blue bar includes depreciation in the

18   rate while the orange bar is the rate excluding depreciation.41 As demonstrated on Exhibit 5,

19   holding geography and make and model constant, each model year has a different per-mile cost

20   to operate. Further, in every year the amount of depreciation per mile (the difference between

21   the blue and orange bars) is well below 26 to 30 cents per mile depreciation built into the IRS

22   rate. The reason why the Edmunds depreciation is substantially less than the depreciation built

23   into the IRS mileage rate is that the IRS mileage rate is designed to depreciate the full value of

24   the vehicle for tax purposes while Edmunds’ depreciation is a measurement of the loss in value

25   based on the difference between initial purchase price and resale value of the vehicle in 5-years,

26

27   40
        This is the zip code for Winters, CA where Plaintiff Evangeline Matthews signed her 8/16/2024
28   declaration. The Toyota Camry was the most commonly recorded Make/Model combination.
     41
        As discussed in detail below, many of the older model year vehicles driven by Pals are likely
     fully depreciated. All costs shown exclude financing.
                                                      20
                                       DECLARATION OF ALISON T. ROSE
 1   which is based on a variety of other factors.42 Further, the depreciation in the Edmunds rate for

 2   the first years is not applicable to year 6 because depreciation slows considerably.43 Thus, the

 3   better proxy for older model vehicles is the mileage rate with much lower depreciation (red

 4   bars) on Exhibit 5. The overwhelming majority, 76.9%, of vehicles listed by Pals in the Vehicle

 5   data were model year 2018 or older and 40% were model year 2013 or older. Thus, these older

 6   vehicles would have their expenses better approximated without or with a greatly reduced

 7   estimate for depreciation. In addition to the variation observed in the costs across model year, it

 8   is worth noting that many of the cost to own estimates after excluding depreciation are also

 9   below the 45 cents per mile rate paid to Pals by Papa.

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     42
        “A general car depreciation calculator works from a car's initial value and shows a dollar
22   amount and percentage of depreciation over time. You'll easily find many such tools online.
     Edmunds, however, uses a more sophisticated approach in determining depreciation. Edmunds
23   analysts calculate total depreciation by taking the new car's current market value and subtracting
24   the estimated yearly future resale value of the vehicle. Edmunds bases its estimated future resale
     values on these input factors: Recent auction and retail transaction data of current and older
25   model years; Supply and demand; New vehicle pricing and incentives; New vehicle redesign or
     improvement info; Vehicle competitive segment; Forecast of the economy.”
26   https://www.edmunds.com/tco.html
     43
        Under the FAQs section of the True-Cost-to-Own calculator it states for the prompt, how much
27   does a vehicle depreciate in a year? “Different vehicles depreciate at different rates. In general,
28   new cars lose 23.5% of their manufacturer's suggested retail price (MSRP) after a year and about
     60% of their MSRP in the first five years. The percentage of depreciation tapers off in subsequent
     years.” See https://www.edmunds.com/tco.html
                                                        21
                                     DECLARATION OF ALISON T. ROSE
 1

 2   Exhibit 5: Edmunds True Cost to Own Data Shows Variation in the Costs to Operate

 3   Various Model Years for a Toyota Camry44

 4
                                         IRS Rate       Per-Mile Cost to Own         Per Mile Cost to Own Excluding Depreciation
 5
                                 $0.70                                                                                         $0.670
                                                                                                                 $0.655
 6
                                                                                                   $0.605
                                 $0.60                  $0.580        $0.575
 7                                        $0.545                                    $0.560
                                                           $0.547        $0.547
                                             $0.530                                    $0.526         $0.522        $0.517
 8                                                                                                                                $0.509
                                 $0.50                                                    $0.462        $0.462
                                                                           $0.459
 9                                                                                                                    $0.440        $0.444
          Per-Mile Cost to Own




                                                             $0.412
10                               $0.40         $0.383

11
                                 $0.30
12

13                               $0.20

14
                                 $0.10
15

16
                                 $0.00
                                             2018          2019          2020           2021       2022             2023          2024
17
                                                                                  Camry Model Year
18

19   32.                                 Exhibit 6 presents the per-mile cost to own a variety of 2018 model year sedans both

20   with and without depreciation, as well as a line representing the IRS mileage rate in 2018 at 55

21   cents per mile.45 As demonstrated by the example vehicles on this exhibit, even holding

22   geography, model year and vehicle type (“Sedan”) constant, simply using a single estimate to

23   compute Pals’ vehicle expenses will not accurately approximate the true cost of operating their

24   vehicles. As an example, the expense per mile estimates for the sedans including depreciation

25   considered in Exhibit 6 vary from a low of 49 cents per mile for a Toyota Corolla to a high of

26   44
        These estimates exclude estimated finance charges. The IRS rate changed on July 1, 2022, so
     the annual average is shown.
27   45
        While 2017 was the most common vehicle year recorded in the data, 2018 is the oldest model
28   year available on Edmunds.com and was the second most common model year recorded. 2018
     reflects the lowest IRS rate in effect during the relevant period in this matter. Again, zip code
     95694 was used. This is not an exhaustive list of sedans listed in the vehicle data.
                                                         22
                                                               DECLARATION OF ALISON T. ROSE
 1   54.8 cents per mile for a Honda Accord, an approximate 5 cents per mile range. Excluding

 2   depreciation, the estimate per mile costs range from 39 cents for a Toyota Prius to a high of 45

 3   cents per mile for a Honda Accord, Kia Optima or Nissan Altima, an approximate 7 cents per

 4   mile range. Exhibit 6 shows that for these selected vehicles, all of the estimated costs fall

 5   below the IRS rate of 55 cents per mile whether including or excluding depreciation. As noted

 6   above, values excluding depreciation will more accurately reflect the cost to own older model

 7   vehicles. Additionally, all of the rates for these selected vehicles fall at or below the 45 cents

 8   per mile rate paid to Pals by Papa, after excluding depreciation. Finally, the variation in costs

 9   observed on Exhibits 5 and 6 and discussion above regarding depreciation demonstrate that

10   determining the actual expenses incurred by Pals would likely require individualized inquiry to

11   determine 1) Which vehicle was being used when incomplete information was provided to

12   Papa; 2) Which vehicle was in use during which visit for those with multiple vehicles listed in

13   the data and 3) An appropriate measure for depreciation and costs to operate for each vehicle

14   used in conducting visits.

15

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                                                        23
                                      DECLARATION OF ALISON T. ROSE
 1

 2   Exhibit 6: Edmunds Cost to Own Data Shows Variation in the Costs to Operate Various

 3   Model Year 2018 Vehicles46

 4

 5                      Estimated Cost to Own          Estimated Cost to Own Less Depreciation           2018 IRS Rate

 6        $0.700

 7
          $0.600
 8                                         $0.547
                       $0.525                        $0.523              $0.530    $0.532
                                                                                             $0.514      $0.513
                                 $0.492                                                                            $0.492
 9        $0.500                                               $0.482
                                             $0.45     $0.45                         $0.45       $0.44     $0.44
                         $0.44                                             $0.43                                     $0.43
10                                 $0.42
                                                                 $0.39
          $0.400
11

12
          $0.300
13

14        $0.200

15
          $0.100
16

17           $-
                        Honda    Hyundai Honda        Kia      Toyota    Toyota    Nissan    Chevy Hyundai Toyota
18                      Civic    Elantra Accord      Optima     Prius    Camry     Altima    Malibu Sonata Corolla

19

20

21          VI.         HOURS WORKED

22

23                A.       The data demonstrates variation in the types of tasks performed by Pals

24   33.               The data indicates that Pals perform 12 categories of tasks in connection with visits to

25   Papa members. Exhibit 7 presents a frequency distribution of the scheduled task types. As

26   shown on Exhibit 7, Companionship was the most frequently scheduled task (63.48%), followed

27

28
     46
          These estimates exclude estimated finance charges.
                                                       24
                                                DECLARATION OF ALISON T. ROSE
 1   by House Tasks (15.10%) and then Reminders (12.02%).47 Exhibit 7 also presents which tasks

 2   are identified as having a Vehicle Required (orange bars – Dr. Visits, Grocery Shopping,

 3   Medication RX, Run Errands, and Transportation).

 4

 5   Exhibit 7: Frequency Distribution of the Scheduled Task Types

 6                                                       Flagged as Vehicle Required     Not Flagged as Vehicle Required
                                          100%
 7
                                          90%
 8
                                          80%
          Percentage of Scheduled Tasks




 9
                                          70%            63.48%
10
                                          60%
11
                                          50%
12                                        40%

13                                        30%

14                                        20%                                          15.10%
                                                                                                             12.02%
15                                        10%                                                                              4.73%
                                                 0.02%        1.03%    0.28% 0.68%          0.06%    0.12%         0.64%           1.84%
                                           0%
16

17

18

19                                                                                     Task Type

20

21

22   34.                                     A visit can contain more than one task type. For example, a visit may include both

23   Companionship and Grocery Shopping. Exhibit 8 presents a frequency distribution of the

24   number of tasks for a given scheduled visit. As shown on Exhibit 8, 31.56% of visits have one

25   schedule task type meaning that 68.44% of visits have two or more scheduled task types.

26

27

28   47
       A visit can contain more than one task so a single visit could be reflected multiple times in this
     Exhibit.
                                                      25
                                                                      DECLARATION OF ALISON T. ROSE
 1

 2   Exhibit 8: Frequency Distribution of the Scheduled Task Types

 3                                        100%

 4                                        90%

 5
                                          80%
 6
          Percentage of "Worked" Visits




                                          70%
 7
                                          60%
 8

 9                                        50%
                                                          44.52%

10                                        40%
                                                 31.56%
11                                        30%
12                                                                 20.60%
                                          20%
13
                                          10%
14                                                                          2.75%
                                                                                    0.48% 0.07% 0.00% 0.01% 0.00% 0.02% 0.00% 0.00%
15                                         0%
                                                   1        2        3        4       5       6       7      8      9   10   11   12
16                                                                                  Count of Different Task Types

17

18

19   35.                                     Under each task type, there are various objectives that can be identified. For example,

20   under the task type “Companionship”, there are 230 specific objectives that can be selected.

21   Exhibits 9 through 19 present the frequency distribution for the most frequently recorded

22   objectives under each of the 11 task type categories where objectives other than “Blank” were

23   recorded.48

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28   48
       Blank is an option that frequently appears in the top 10 for each task type category. The only
     objective recorded under the “Medication/RX” task type is “Blank”.
                                                       26
                                                                         DECLARATION OF ALISON T. ROSE
 1   Exhibit 9: Frequency Distribution of the Top 10 of 230 Objectives for Companionship

 2   Tasks

 3                                                    100%

      Percentage of Scheduled "Companionship" Tasks
                                                      90%
 4                                                    80%
                                                      70%
 5
                                                      60%
 6                                                    50%
                                                      40%
 7
                                                      30%    22.68%
 8                                                    20%
                                                                      7.27%   5.47%   4.15%
                                                      10%                                     3.76%   3.68%   3.22%   3.07%   2.58%   2.15%
 9
                                                       0%
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16                                                                                        Objective Description

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                                                                              DECLARATION OF ALISON T. ROSE
 1   Exhibit 10: Frequency Distribution of the Top 10 of 60 Objectives for House Tasks

 2                                                  100%



      Percentage of Scheduled "House Tasks" Tasks
                                                    90%
 3
                                                    80%
 4
                                                    70%
 5                                                  60%

 6                                                  50%
                                                    40%
 7
                                                    30%
                                                           19.90%
 8                                                  20%
                                                                    7.98%   7.12%   7.01%   6.50%   5.90%   5.73%   5.54%
 9                                                  10%                                                                     4.65%   4.02%
                                                     0%
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15                                                                                      Objective Description

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                                                                            DECLARATION OF ALISON T. ROSE
 1   Exhibit 11: Frequency Distribution of the Top 10 of 62 Objectives for Reminders Tasks

 2                                                  100%




        Percentage of Scheduled "Reminders" Tasks
                                                    90%
 3
                                                    80%
 4                                                  70%
                                                    60%
 5                                                  50%
 6                                                  40%
                                                           28.62%
                                                    30%
 7                                                  20%             13.41%
                                                                             7.47%   7.21%   6.56%   4.30%
                                                    10%                                                      3.99%    3.79%   3.38%   3.24%
 8
                                                     0%
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                                                                               Objective Description ("Remind Member to")
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                                                                             DECLARATION OF ALISON T. ROSE
 1   Exhibit 12: Frequency Distribution of the Top 10 of 31 Objectives for Tech Help Tasks

 2                                                 100%



       Percentage of Scheduled "Tech Help" Tasks
                                                   90%
 3
                                                   80%
 4                                                 70%
                                                   60%
 5
                                                   50%
 6                                                 40%
                                                   30%
 7
                                                   20% 15.93% 15.79% 15.57% 10.53%
                                                                                     10.12%
                                                   10%                                        6.78% 6.36% 6.30% 5.45%
 8                                                                                                                    2.69%
                                                    0%
 9

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15                                                                             Objective Description
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                                                             DECLARATION OF ALISON T. ROSE
 1   Exhibit 13: Frequency Distribution of the Top 10 of 32 Objectives for Transportation

 2   Tasks

 3                                                            100%




             Percentage of Scheduled "Transportation" Tasks
                                                              90%
 4
                                                              80%
 5                                                            70%
 6                                                            60%
                                                              50%
 7
                                                              40%    32.59%
 8                                                            30%

 9                                                            20%             12.24% 10.87%
                                                                                              9.36%    6.83%
                                                              10%                                              6.24%   4.24%   3.47%   1.81%   1.66%
10
                                                               0%
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                                                                                                  Objective Description
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                                                                                  DECLARATION OF ALISON T. ROSE
 1   Exhibit 14: Frequency Distribution of the Top 10 of 31 Objectives for Dr. Visit Tasks

 2                                                 100%




       Percentage of Scheduled "Dr. Visit" Tasks
                                                   90%
 3
                                                   80%
 4                                                 70%
                                                   60%
 5
                                                   50%
 6                                                 40%
                                                   30%    22.70% 22.57%
 7                                                                        16.92%
                                                   20%                             12.46%   9.45%
 8                                                 10%                                              2.42%       2.34%   2.18%   2.02%   1.71%
                                                    0%
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15                                                                                      Objective Description

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                                                                           DECLARATION OF ALISON T. ROSE
 1   Exhibit 15: Frequency Distribution of the Top 10 of 15 Objectives for Grocery Tasks

 2                                                        100%



       Percentage of Scheduled "Grocery Shopping" Tasks
                                                          90%
 3
                                                          80%
 4                                                        70%
 5                                                        60%
                                                          50%
 6
                                                          40%
                                                                 30.30%
 7                                                        30%             27.05%
                                                                                   21.44%
                                                          20%                               12.06%
 8
                                                          10%                                         3.17%   2.86%   0.91%   0.86%   0.47%   0.31%
 9                                                         0%

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15                                                                                              Objective Description

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                                                                               DECLARATION OF ALISON T. ROSE
 1   Exhibit 16: Frequency Distribution of the Top 10 of 24 Objectives for Run Errands Tasks

 2                                                  100%



      Percentage of Scheduled "Run Errands" Tasks
 3                                                  90%
                                                    80%
 4
                                                    70%
 5                                                  60%
 6                                                  50%    42.94%

 7                                                  40%             32.67%
                                                    30%
 8
                                                    20%
 9                                                  10%                      4.52%   3.05%      2.48%    2.35%       1.62%   1.58%   1.47%   1.37%
10                                                   0%

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15                                                                                           Objective Description

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                                                                               DECLARATION OF ALISON T. ROSE
 1   Exhibit 17: Frequency Distribution of the 9 Objectives for Exercise Tasks

 2                                                100%




       Percentage of Scheduled "Exercise" Tasks
                                                  90%
 3
                                                  80%
 4                                                70%
                                                  60%
 5
                                                  50%
 6                                                40%    35.27%
                                                                  30.58%
 7                                                30%
                                                  20%                      16.30%
                                                                                    11.36%
 8                                                                                                4.83%
                                                  10%                                                     1.40%   0.11%   0.09%   0.06%
 9                                                 0%

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15                                                                                    Objective Description

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                                                                           DECLARATION OF ALISON T. ROSE
 1   Exhibit 18: Frequency Distribution of the Top 10 of 12 Objectives for Pet Help Tasks

 2                                                100%




       Percentage of Scheduled "Pet Help" Tasks
                                                  90%
 3
                                                  80%
 4
                                                  70%
 5                                                       56.31%
                                                  60%
 6                                                50%
 7                                                40%

 8                                                30%
                                                                  20.39%
                                                  20%
 9
                                                                           9.16%
                                                  10%                              5.05%      2.92%
10                                                                                                     2.12%       1.66%   0.86%   0.53%   0.46%
                                                   0%
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15                                                                                         Objective Description

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                                                                            DECLARATION OF ALISON T. ROSE
 1   Exhibit 19: Frequency Distribution of the 8 Objectives for Childcare Tasks
                                                   100%
 2



       Percentage of Scheduled "Childcare" Tasks
                                                   90%
 3                                                 80%
                                                   70%
 4                                                        56.90%
                                                   60%
 5                                                 50%
                                                   40%
 6
                                                   30%             21.55%
 7                                                 20%
                                                                              9.05%    6.03%
                                                   10%                                             3.45%      1.29%   1.29%
 8                                                                                                                            0.43%
                                                    0%
 9

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                                                                                      Objective Description
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                                                                            DECLARATION OF ALISON T. ROSE
 1                           B.       The data shows that most Pals complete very few visits

 2   36.                          Generally, the Pals completed very few visits during the relevant period. Exhibit 20

 3   presents the frequency distribution of the number of visits completed by Pals and shows that

 4   52.5% of Pals completed five or fewer visits, 36.6% completed two or fewer visits and 24.1%

 5   completed only a single visit. Based on these visit counts combined with the fact that 30 minutes

 6   is the most commonly scheduled visit duration (See Exhibit 21), it is very likely that many or

 7   even the majority of Pals would not be expected to incur overtime hours or be eligible for meal

 8   and/or rest breaks.

 9

10   Exhibit 20: Frequency Distribution of the Number of Completed Visits Per Pal

11
                          100%
12
                          90%
13
                          80%
14
                          70%
     Percentage of Pals




15
                          60%
16                        50%
17                        40%
18                        30%             24.10%
19                        20%
                                               11.88%                         10.69%11.18%
20                        10%                           6.46% 5.35%                          6.33% 6.30%                 6.46%
                                                                      4.13%                                4.13% 2.40%
                                  0.59%
21                         0%

22

23

24
                                                                Number of Completed Visits
25

26

27

28

                                                                              38
                                                         DECLARATION OF ALISON T. ROSE
 1

 2          C.       The data shows that not all scheduled visits were started and Pals did not

 3                   record an end time for all started visits

 4   37.         Plaintiffs have failed to identify a methodology in order to identify all work-related

 5   tasks or to compute total hours worked. However, it is likely that they would intend to rely, in

 6   part, on the time stamps recorded in the Papa Visits data regarding actual visit start and end

 7   times. It is worth noting however, that 13.8% of scheduled visits show no indication that the

 8   visit was ever started and more importantly, 24.4% of visits have incomplete time stamps, almost

 9   always due to a missing end time. For these 62,265 visits, it appears that Papa credits them with

10   some duration or ends the visit after a certain amount of time, called an override. Thus, for

11   nearly a quarter of the visits, determining the actual visit duration would likely require

12   additional, individualized information.

13

14          D.       Comparison of the Scheduled to Actual Durations indicate that scheduled

15                   time does not reliably reflect actual visit durations.

16   38.         The visits data includes the scheduled duration for the visit, typically reflecting a value

17   of 30, 60, 120, 180 or 240 minutes. Exhibit 21 presents a frequency distribution of the scheduled

18   times for completed visits. As shown on Exhibit 21, nearly 44% of all visits are scheduled for 30

19   minutes with the second most frequent scheduled duration being 120 minutes for 31.5% of visits.

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                                       DECLARATION OF ALISON T. ROSE
 1   Exhibit 21: Frequency Distribution of the Scheduled Duration Minutes for Completed

 2   Visits

 3
                                                               100%
 4     Percentage of Visits with Started At and Completed At   90%
                                                               80%
 5
                                                               70%




                                                                                                  43.93%
 6                                                             60%




                                                                                                                      31.51%
                                                               50%
 7                                                             40%
                             Timestamps




 8                                                             30%




                                                                                                              8.80%




                                                                                                                                 5.72%




                                                                                                                                 5.21%
                                                               20%




                                                                                                           1.66%




                                                                                                                               1.01%




                                                                                                                               0.93%
                                                                                                           0.24%




                                                                                                                               0.20%
                                                                                                           0.19%
                                                                      0.12%




                                                                                                           0.10%




                                                                                                                               0.08%
                                                                                                                               0.07%

                                                                                                                               0.05%




                                                                                                                               0.05%
                                                                                                                               0.05%
                                                                               0.01%




                                                                                                                               0.03%

                                                                                                                               0.03%
                                                                               0.00%

                                                                               0.00%

                                                                                          0.00%




                                                                                                                               0.00%
 9                                                             10%
10                                                              0%




                                                                                  120 Minutes Scheduled

                                                                                  150 Minutes Scheduled

                                                                                  180 Minutes Scheduled

                                                                                  210 Minutes Scheduled

                                                                                  240 Minutes Scheduled

                                                                                  270 Minutes Scheduled
                                                                                    10 Minutes Scheduled
                                                                                   No Minutes Scheduled
                                                                             Negative Minutes Scheduled




                                                                        10.01 - 14.99 Minutes Scheduled
                                                                                    15 Minutes Scheduled
                                                                        15.01 - 29.99 Minutes Scheduled
                                                                                    30 Minutes Scheduled
                                                                        30.01 - 59.99 Minutes Scheduled
                                                                                    60 Minutes Scheduled
                                                                        60.01 - 89.99 Minutes Scheduled
                                                                                    90 Minutes Scheduled
                                                                       90.01 - 119.99 Minutes Scheduled




                                                                                    30 Minutes Scheduled
                                                                                     0 Minutes Scheduled
                                                                           0.01 - 4.99 Minutes Scheduled
                                                                                     5 Minutes Scheduled
                                                                           5.01 - 9.99 Minutes Scheduled




                                                                      120.01 - 149.99 Minutes Scheduled

                                                                      150.01 - 179.99 Minutes Scheduled

                                                                      180.01 - 209.99 Minutes Scheduled

                                                                      210.01 - 239.99 Minutes Scheduled

                                                                      240.01 - 269.99 Minutes Scheduled

                                                                      270.01 - 299.99 Minutes Scheduled

                                                                       More than 300 Minutes Scheduled
11

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                                                                                                  (Scheduled) Duration Minutes
17

18   39.                                                        It would not be unreasonable to expect that Plaintiffs could argue that scheduled

19   duration could be used as a proxy for actual duration when the visit data is incomplete as to the

20   actual end time of the visit. However, a comparison of the actual durations to scheduled

21   durations show that scheduled duration does not accurately reflect the actual duration for many

22   visits. Exhibits 22 through 26 present the distribution of actual durations for completed visits

23   with recorded start and end times by scheduled duration. For example, Exhibit 22 presents the

24   distribution of actual visit durations for visits scheduled for 30 minutes. As shown on Exhibit

25   22, more than half of visits scheduled for 30 minutes finish in less than the scheduled time, with

26   many being completed in 5 to 10 minutes. On each of these exhibits, the data suggests that

27   assuming scheduled time for visits where the time stamps are incomplete would likely lead to

28   incorrect conclusions regarding the true visit duration. Overall, 60.5% of visits with recorded

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                                                                                     DECLARATION OF ALISON T. ROSE
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1




                                                                                                                   Percentage of Visits Scheduled for 30 Minutes




                                                                                                                                                                                                     minutes




                                                                                                                              0%
                                                                                                                                    10%
                                                                                                                                          20%
                                                                                                                                                30%
                                                                                                                                                      40%
                                                                                                                                                            50%
                                                                                                                                                                  60%
                                                                                                                                                                        70%
                                                                                                                                                                              80%
                                                                                                                                                                                    90%
                                                                                                                                                                                          100%
                                                                                                       No Minutes Recorded         0.72%
                                                                                                 Negative Minutes Recorded         0.00%
                                                                                                         0 Minutes Recorded          5.00%
                                                                                               0.01 - 4.99 Minutes Recorded           7.70%
                                                                                                         5 Minutes Recorded         3.02%
                                                                                               5.01 - 9.99 Minutes Recorded                19.65%
                                                                                                        10 Minutes Recorded          4.93%
                                                                                             10.01 - 14.99 Minutes Recorded              14.94%
                                                                                                        15 Minutes Recorded         3.02%
                                                                                             15.01 - 29.99 Minutes Recorded                 22.67%
                                                                                                        30 Minutes Recorded        1.22%
                                                                                             30.01 - 59.99 Minutes Recorded             10.98%
                                                                                                        60 Minutes Recorded        0.77%
                                                                                             60.01 - 89.99 Minutes Recorded          4.44%




                                41
                                                                                                        90 Minutes Recorded        0.04%
                                                                                            90.01 - 119.99 Minutes Recorded        0.41%
                                                                                                      120 Minutes Recorded         0.04%
                                                                                           120.01 - 149.99 Minutes Recorded        0.20%
                                                                                                      150 Minutes Recorded         0.00%




DECLARATION OF ALISON T. ROSE
                                                               Observed Duration Minutes
                                                                                           150.01 - 179.99 Minutes Recorded        0.06%
                                                                                                      180 Minutes Recorded         0.00%
                                                                                           180.01 - 209.99 Minutes Recorded        0.01%
                                                                                                      210 Minutes Recorded         0.00%
                                                                                           210.01 - 239.99 Minutes Recorded        0.02%
                                                                                                      240 Minutes Recorded
                                                                                                                                                                                                                                                                                                                 visit that is completed in 15 minutes or less or is completed in 45 minutes or more).




                                                                                           240.01 - 269.99 Minutes Recorded        0.01%
                                                                                                      270 Minutes Recorded
                                                                                           270.01 - 299.99 Minutes Recorded        0.01%
                                                                                                        30 Minutes Recorded
                                                                                                                                                                                                                                                                                                                                                                                                         duration that is more than 15 minutes from the scheduled duration (e.g. a 30-minute scheduled




                                                                                            More than 300 Minutes Recorded         0.13%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             (e.g. a 30-minute scheduled visit would be included in this percentage if the actual duration was

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         less than or equal to 20 minutes or more than or equal to 40 minutes) and 50.6% reflect an actual
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 start and end times indicate an actual duration more than 10 minutes from the scheduled duration




                                                                                                                                                                                                               Exhibit 22: Frequency Distribution of the Actual Visit Duration for Visits Scheduled for 30
                                     28
                                          27
                                               26
                                                    25
                                                         24
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                                                                   22
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                                                                                                                                                                                                           5
                                                                                                                                                                                                                      4
                                                                                                                                                                                                                              3
                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                             1




                                                                                                                                                      Percentage of Visits Scheduled for 60 Minutes
                                                                                                                                                                                                                                   minutes




                                                                                                                                                                0%
                                                                                                                                                                      10%
                                                                                                                                                                            20%
                                                                                                                                                                                  30%
                                                                                                                                                                                        40%
                                                                                                                                                                                              50%
                                                                                                                                                                                                    60%
                                                                                                                                                                                                          70%
                                                                                                                                                                                                                80%
                                                                                                                                                                                                                      90%
                                                                                                                                                                                                                            100%




                                                                                                                                         No Minutes Recorded         0.34%
                                                                                                                                   Negative Minutes Recorded         0.04%
                                                                                                                                           0 Minutes Recorded          4.12%
                                                                                                                                 0.01 - 4.99 Minutes Recorded         1.78%
                                                                                                                                           5 Minutes Recorded        0.53%
                                                                                                                                 5.01 - 9.99 Minutes Recorded         2.27%
                                                                                                                                          10 Minutes Recorded        0.88%
                                                                                                                               10.01 - 14.99 Minutes Recorded         2.67%
                                                                                                                                          15 Minutes Recorded        1.04%
                                                                                                                               15.01 - 29.99 Minutes Recorded            8.80%
                                                                                                                                          30 Minutes Recorded        1.40%
                                                                                                                               30.01 - 59.99 Minutes Recorded                20.65%
                                                                                                                                          60 Minutes Recorded               16.62%
                                                                                                                               60.01 - 89.99 Minutes Recorded                    30.18%




                                42
                                                                                                                                          90 Minutes Recorded        0.67%
                                                                                                                              90.01 - 119.99 Minutes Recorded          4.24%
                                                                                                                                        120 Minutes Recorded         0.75%
                                                                                                                             120.01 - 149.99 Minutes Recorded         1.75%
                                                                                                                                        150 Minutes Recorded         0.05%




DECLARATION OF ALISON T. ROSE
                                                                                                 Observed Duration Minutes
                                                                                                                             150.01 - 179.99 Minutes Recorded        0.43%
                                                                                                                                        180 Minutes Recorded         0.08%
                                                                                                                             180.01 - 209.99 Minutes Recorded        0.31%
                                                                                                                                        210 Minutes Recorded         0.01%
                                                                                                                             210.01 - 239.99 Minutes Recorded        0.11%
                                                                                                                                        240 Minutes Recorded         0.03%
                                                                                                                             240.01 - 269.99 Minutes Recorded        0.08%
                                                                                                                                        270 Minutes Recorded         0.01%
                                                                                                                             270.01 - 299.99 Minutes Recorded        0.04%
                                                                                                                                          30 Minutes Recorded        0.01%
                                                                                                                              More than 300 Minutes Recorded         0.12%
                                                                                                                                                                                                                                             Exhibit 23: Frequency Distribution of the Actual Visit Duration for Visits Scheduled for 60
                                     28
                                          27
                                               26
                                                    25
                                                         24
                                                              23
                                                                   22
                                                                        21
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                                                                                                                                 15
                                                                                                                                       14
                                                                                                                                            13
                                                                                                                                                  12
                                                                                                                                                       11
                                                                                                                                                                  10
                                                                                                                                                                             9
                                                                                                                                                                                    8
                                                                                                                                                                                               7
                                                                                                                                                                                                      6
                                                                                                                                                                                                                 5
                                                                                                                                                                                                                         4
                                                                                                                                                                                                                              3
                                                                                                                                                                                                                                  2
                                                                                                                                                                                                                                                1




                                                                                                                                              Percentage of Visits Scheduled for 120 Minutes




                                                                                                                                                           0%
                                                                                                                                                                 10%
                                                                                                                                                                       20%
                                                                                                                                                                             30%
                                                                                                                                                                                   40%
                                                                                                                                                                                         50%
                                                                                                                                                                                               60%
                                                                                                                                                                                                     70%
                                                                                                                                                                                                           80%
                                                                                                                                                                                                                 90%
                                                                                                                                                                                                                       100%
                                                                                                                                                                                                                                  120 minutes




                                                                                                                                    No Minutes Recorded         0.05%
                                                                                                                              Negative Minutes Recorded         0.11%
                                                                                                                                      0 Minutes Recorded        0.73%
                                                                                                                            0.01 - 4.99 Minutes Recorded        0.16%
                                                                                                                                      5 Minutes Recorded        0.04%
                                                                                                                            5.01 - 9.99 Minutes Recorded        0.16%
                                                                                                                                     10 Minutes Recorded        0.04%
                                                                                                                          10.01 - 14.99 Minutes Recorded        0.14%
                                                                                                                                     15 Minutes Recorded        0.06%
                                                                                                                          15.01 - 29.99 Minutes Recorded        0.42%
                                                                                                                                     30 Minutes Recorded        0.06%
                                                                                                                          30.01 - 59.99 Minutes Recorded         1.66%
                                                                                                                                     60 Minutes Recorded          4.24%
                                                                                                                          60.01 - 89.99 Minutes Recorded          4.00%




                                43
                                                                                                                                     90 Minutes Recorded        0.51%
                                                                                                                         90.01 - 119.99 Minutes Recorded              14.13%
                                                                                                                                   120 Minutes Recorded                 19.25%
                                                                                                                        120.01 - 149.99 Minutes Recorded                                 43.03%
                                                                                                                                   150 Minutes Recorded         0.85%




DECLARATION OF ALISON T. ROSE
                                                                                            Observed Duration Minutes
                                                                                                                        150.01 - 179.99 Minutes Recorded          5.37%
                                                                                                                                   180 Minutes Recorded         0.82%
                                                                                                                        180.01 - 209.99 Minutes Recorded         1.99%
                                                                                                                                   210 Minutes Recorded         0.16%
                                                                                                                        210.01 - 239.99 Minutes Recorded        0.69%
                                                                                                                                   240 Minutes Recorded         0.23%
                                                                                                                        240.01 - 269.99 Minutes Recorded        0.46%
                                                                                                                                   270 Minutes Recorded         0.04%
                                                                                                                        270.01 - 299.99 Minutes Recorded        0.19%
                                                                                                                                     30 Minutes Recorded        0.05%
                                                                                                                                                                                                                                                Exhibit 24: Frequency Distribution of the Actual Visit Duration for Visits Scheduled for




                                                                                                                         More than 300 Minutes Recorded         0.35%
                                     28
                                          27
                                               26
                                                    25
                                                         24
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                                                                                                                                                                                                                              3
                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                 1




                                                                                                                                                   Percentage of Visits Scheduled for 180 Minutes




                                                                                                                                                                0%
                                                                                                                                                                      10%
                                                                                                                                                                            20%
                                                                                                                                                                                  30%
                                                                                                                                                                                        40%
                                                                                                                                                                                              50%
                                                                                                                                                                                                    60%
                                                                                                                                                                                                          70%
                                                                                                                                                                                                                80%
                                                                                                                                                                                                                      90%
                                                                                                                                                                                                                            100%
                                                                                                                                                                                                                                   180 minutes




                                                                                                                                         No Minutes Recorded         0.01%
                                                                                                                                   Negative Minutes Recorded         0.02%
                                                                                                                                           0 Minutes Recorded        0.34%
                                                                                                                                 0.01 - 4.99 Minutes Recorded        0.10%
                                                                                                                                           5 Minutes Recorded        0.02%
                                                                                                                                 5.01 - 9.99 Minutes Recorded        0.11%
                                                                                                                                          10 Minutes Recorded        0.06%
                                                                                                                               10.01 - 14.99 Minutes Recorded        0.09%
                                                                                                                                          15 Minutes Recorded        0.01%
                                                                                                                               15.01 - 29.99 Minutes Recorded        0.32%
                                                                                                                                          30 Minutes Recorded        0.03%
                                                                                                                               30.01 - 59.99 Minutes Recorded        0.99%
                                                                                                                                          60 Minutes Recorded         3.34%
                                                                                                                               60.01 - 89.99 Minutes Recorded         2.21%




                                44
                                                                                                                                          90 Minutes Recorded        0.21%
                                                                                                                              90.01 - 119.99 Minutes Recorded         3.41%
                                                                                                                                        120 Minutes Recorded         1.25%
                                                                                                                             120.01 - 149.99 Minutes Recorded           7.22%
                                                                                                                                        150 Minutes Recorded         0.71%




DECLARATION OF ALISON T. ROSE
                                                                                                 Observed Duration Minutes
                                                                                                                             150.01 - 179.99 Minutes Recorded              13.91%
                                                                                                                                        180 Minutes Recorded                16.52%
                                                                                                                             180.01 - 209.99 Minutes Recorded                     35.13%
                                                                                                                                        210 Minutes Recorded         0.97%
                                                                                                                             210.01 - 239.99 Minutes Recorded           6.39%
                                                                                                                                        240 Minutes Recorded         1.35%
                                                                                                                             240.01 - 269.99 Minutes Recorded         2.81%
                                                                                                                                        270 Minutes Recorded         0.14%
                                                                                                                             270.01 - 299.99 Minutes Recorded        0.90%
                                                                                                                                          30 Minutes Recorded        0.26%
                                                                                                                                                                                                                                                 Exhibit 25: Frequency Distribution of the Actual Visit Duration for Visits Scheduled for




                                                                                                                              More than 300 Minutes Recorded         1.16%
 1   Exhibit 26: Frequency Distribution of the Actual Visit Duration for Visits Scheduled for

 2   240 minutes

 3
                                                           100%
 4        Percentage of Visits Scheduled for 240 Minutes   90%
 5                                                         80%
                                                           70%
 6                                                         60%




                                                                                                                                          39.37%
 7                                                         50%
                                                           40%




                                                                           18.74%
 8




                                                                        10.91%
                                                           30%




                                                                                                                                                     6.48%

                                                                                                                                                     5.61%
                                                                     4.38%
                                                           20%




                                                                    2.43%




                                                                    2.42%
 9




                                                                    1.79%




                                                                                                                                                   1.30%
                                                                   0.96%




                                                                                                                                                   0.95%
                                                                   0.86%
                                                                   0.79%

                                                                   0.74%




                                                                   0.58%
                                                                   0.53%
                                                                   0.23%




                                                                   0.25%
                                                                   0.16%




                                                                   0.11%
                                                                   0.07%




                                                                   0.10%
                                                                   0.05%
                                                                   0.04%

                                                                   0.04%

                                                                   0.05%
                                                                   0.01%
                                                                   0.01%



                                                                   0.02%

                                                           10%
10                                                          0%
                                                                          Negative Minutes Recorded




                                                                                 10 Minutes Recorded

                                                                                 15 Minutes Recorded

                                                                                 30 Minutes Recorded

                                                                                 60 Minutes Recorded

                                                                                 90 Minutes Recorded




                                                                                 30 Minutes Recorded
                                                                                No Minutes Recorded




                                                                               120 Minutes Recorded
                                                                   120.01 - 149.99 Minutes Recorded
                                                                               150 Minutes Recorded
                                                                   150.01 - 179.99 Minutes Recorded
                                                                               180 Minutes Recorded
                                                                   180.01 - 209.99 Minutes Recorded
                                                                               210 Minutes Recorded
                                                                   210.01 - 239.99 Minutes Recorded
                                                                               240 Minutes Recorded
                                                                   240.01 - 269.99 Minutes Recorded
                                                                               270 Minutes Recorded
                                                                   270.01 - 299.99 Minutes Recorded
                                                                        0.01 - 4.99 Minutes Recorded

                                                                        5.01 - 9.99 Minutes Recorded




                                                                    90.01 - 119.99 Minutes Recorded
                                                                                  0 Minutes Recorded

                                                                                  5 Minutes Recorded



                                                                     10.01 - 14.99 Minutes Recorded

                                                                     15.01 - 29.99 Minutes Recorded

                                                                     30.01 - 59.99 Minutes Recorded

                                                                     60.01 - 89.99 Minutes Recorded




                                                                    More than 300 Minutes Recorded
11

12

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14

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16
                                                                                                 Observed Duration Minutes
17

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19                                                          E.       The data demonstrates that many Pals are unlikely to have worked overtime

20                                                                   hours, either on a daily or weekly basis

21   40.                                                         While there are issues with assessing actual visit time as noted above, an analysis of

22   hours worked for weeks with complete visit time stamps recorded shows that many Pals are

23   unlikely to have worked overtime hours either on a daily or weekly basis, and were also unlikely

24   to be eligible for a meal or rest break. Limiting the data to those weeks where start and end time

25   stamps are completed for every visit leaves 25,371 weeks including 47,359 days for 3,358 Pals

26   and includes 75,579 visits.49 Exhibit 27 below presents summary statistics regarding the total “in

27   visit” hours recorded in the data for these weeks and shows that the overwhelming majority of

28
     49
          A week is defined as Sunday at 12:00AM to Saturday at 11:59:59PM.
                                                     45
                                                                                       DECLARATION OF ALISON T. ROSE
 1   days do not achieve the threshold for rest or meal break eligibility or daily overtime and nearly

 2   all weeks fall short of the 40 hour threshold for weekly overtime.

 3

 4   Exhibit 27: Summary of Daily and Weekly Hours Worked for Weeks with Complete Time

 5   Stamps

 6

 7          Time Considered                      Category                     Count       Percent
                                     Days with <=3.5 Hours Worked              36,122      76.27%
 8                                   Days with <=5.0 Hours Worked              45,450      95.97%
 9                                   Days with <=8.0 Hours Worked              47,075      99.40%
           Scheduled Duration
                                     Days                                      47,359             -
10
                                     Weeks with <=40.0 Hours Worked            25,334      99.85%
11                                   Weeks                                      25,371             -
12                             Days with <=3.5 Hours Worked                     36,900      77.92%
      Calculated Duration from Days with <=5.0 Hours Worked                     44,682      94.35%
13
           Started At and      Days with <=8.0 Hours Worked                     47,030      99.31%
14      Completed At Time      Days                                             47,359            -
               Stamps          Weeks with <=40.0 Hours Worked                   25,312      99.77%
15
                               Weeks                                            25,371            -
16

17   41.       Exhibit 28 presents a summary by Pal and shows that the majority of Pals, 55.7%,
18   never have a day with more than 3.5 hours of visit time recorded, nearly 78% never have a day
19   with more than 5 hours of visit time recorded, and 95% never have a day with more than 8 hours
20   of visit time recorded. On a weekly basis, more than 98% of Pals never have a week with more
21   than 40 hours of visit time recorded.
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                                                      46
                                     DECLARATION OF ALISON T. ROSE
 1   Exhibit 28: Summary of Daily and Weekly Hours Worked for Weeks with Complete Time

 2   Stamps by Pal

 3
                                                                            Count                Percent
 4
            Time Considered                          Category               of Pals              of Pals
 5                                     Never has Day with 3.5+ Hours Worked    1,878              55.93%
                                       Never has Day with 5.0+ Hours Worked    2,932              87.31%
 6         Scheduled Duration          Never has Day with 8.0+ Hours Worked    3,312              98.63%
 7                                     Never has Week with 40.0+ Hours
                                       Worked                                  3,347              99.67%
 8                              Never has Day with 3.5+ Hours Worked                   1,870      55.69%
      Calculated Duration from
 9                              Never has Day with 5.0+ Hours Worked                   2,614      77.84%
           Started At and
        Completed At Time       Never has Day with 8.0+ Hours Worked                   3,191      95.03%
10
               Stamps           Never has Week with 40.0+ Hours
11                              Worked                                                 3,303      98.36%
                       Total Number Pals Considered                                    3,358               -
12

13

14
             F.       The available data likely does not include information sufficient to estimate
15
                      all work-related activities alleged by Plaintiffs
16
     42.          While they have not provided a comprehensive list of activities they allege are work-
17
     related, Plaintiffs allege that Pals conducted work-related activities that may not be included in
18
     the timestamps recorded in the Papa app, either in the visits or app data. With regard to activities
19
     noted outside of a visit but recorded in the app, the app data does not contain a start and end time
20
     stamp, only a single time stamp thus, not permitting a duration to be simply computed.
21
     Additionally, there is no data that I am aware of to indicate the frequency or duration of any
22
     activities Plaintiffs allege that Pals were required to participate in outside of the app entirely,
23
     (e.g. onboarding and training). In their Motion for Class Certification, they have not proposed a
24
     methodology by which they intend to collect information on the frequency and duration of these
25
     tasks nor have they presented any information or analysis to demonstrate that the frequency and
26
     duration of these tasks did not meaningfully vary across Pals.
27

28

                                                         47
                                       DECLARATION OF ALISON T. ROSE
 1   I declare under penalty of perjury under the laws of the State of California that the foregoing is

 2   true and correct. This declaration was executed on September 30, 2024 in Chicago, Illinois.

 3

 4

 5   ____________________________________

 6   Alison T. Rose

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                                      DECLARATION OF ALISON T. ROSE
 1                          List of Data and Documents Relied Upon

 2
        Third Amended Collective and Class Action Complaint against Papa, Inc.
 3

 4      First Motion to Certify Class filed by Jennifer Pardo

 5      Declaration of Plaintiff Evangeline Matthews in Support of Motion for Class Certification
 6      Declaration of Plaintiff Jennifer Pardo in Support of Motion for Class Certification
 7
        Declaration of Jonathan M. Lebe in Support of Plaintiffs’ Motion for Class Certification
 8
         including Exhibits 1-24
 9

10      Proposed Order Granting Plaintiffs’ Motion for Class Certification

11      Deposition of Evangeline Matthews including Exhibits 1-10

12      Deposition of Jennifer Pardo including Exhibits 1-7
13
        Declaration of Priscilla Hoyta
14
        Declaration of Kellie Hynds
15
        Declaration of Sandra Rodriguez
16

17      Declaration of Nancy Gonzalez

18      Declaration of Zerina Gacanovic
19
        Declaration of Cassie Kings
20
        Declaration of Jennifer Martin
21
        Declaration of Marsi Haney
22

23      California Pals List (“redwoods_california_pals_list.csv”,

24       “redwoods_california_pals_list.sql”)

25      California Vehicle Data (“redwoods_pal_vehicle_data.csv”,
26
         “redwoods_pal_vehicle_data.sql”)
27
        Task Data (“redwoods_task_data_for_xp_witness.csv”,
28
         “redwoods_task_data_for_xp_witness.sql”)
                                              49
                                   DECLARATION OF ALISON T. ROSE
        Visit Data (“redwoods_visit_data_for_xp_witness.csv”,
 1

 2       “redwoods_visit_data_for_xp_witness.sql”)

 3      App Data (“redwoods_app_data_for_xp_witness.csv”,
 4       “redwoods_app_data_for_xp_witness.sql”)
 5

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                                DECLARATION OF ALISON T. ROSE
                                                                                                     111 South Wacker Drive
                                                                                                                Suite 3340
                                                                                                          Chicago, IL 60606
                                                                                                       Office.312.626.2749
                                                                                                         Fax.312.626.2730
                                                                                                        ARose@resecon.com



ALISON T. ROSE, PARTNER
Alison Rose is a Partner in the litigation consulting practice of Resolution Economics LLC. She has a
Bachelor’s Degree and Master’s Degree in Economics from the University of Southern California and a
Master’s Degree in Survey Research from the University of Connecticut. Ms. Rose has significant experience
in analyzing complex data for the purpose of assisting counsel in evaluating class certification and liability. She
has extensive experience in employment related litigation support, including preparation of economic and
statistical analysis in class action matters involving wage and hour disputes, often involving large and complex
databases. Ms. Rose has also provided litigation support for matters involving allegations of race, gender, and
age discrimination in a variety of industries. She has assisted counsel at numerous mediations and has served as
an expert in several matters.


Professional Experience

Ms. Rose has considerable experience in providing economic and/or statistical analyses related to employment
litigation matters. Also, she performs general damages analyses, forensic accounting, and statistical analyses in
a broad range of matters involving commercial damages and contract disputes. In addition, Ms. Rose has
considerable expertise in financial modeling, creating large databases from paper records and diverse data
sources, and conducting statistical analyses related to complex data intensive litigation assignments.

Class Action Wage and Hour Claims

Ms. Rose has been involved in many class action wage and hour matters. She is highly experienced in
analyzing liability, damages, and issues related to class certification in matters involving wage and hour claims.
She is experienced in designing, implementing, and performing forensic data analyses related to job content,
exempt/non-exempt status, independent contractor/employee status, hours worked, uncompensated time, meal
and rest breaks, improper pay calculations, and other issues. Finally, Ms. Rose has significant experience in
assisting counsel at mediation where she has presented findings related to class certification and merits issues,
evaluation of economic exposure under a variety of legal theories, and has also assisted counsel in structuring
the settlement terms. Assignments representative of Ms. Rose’s wage and hour experience include:

•   Consulting services to defense counsel in large multi-plaintiff matter alleging misclassification of managers
    at a large nationwide office-supply retailer. Services included performing statistical analysis of survey data
    related to a variety of class certification issues and statistical analysis of observation study data related to
    establishing liability.

•   Consulting services to defense counsel in large multi-plaintiff matter alleging misclassification of managers
    at a nationwide general retailer. Services included performing statistical analysis of survey and observation
    study data related to a variety of class certification issues.


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•   Consulting services to defense counsel in multi-plaintiff matter alleging misclassification of call-center
    employees as exempt. Services included estimating damages related to unpaid overtime, missed meal and
    rest periods, and waiting time penalties in accordance with California law.

•   Consulting services to defense counsel in multi-plaintiff matter alleging misclassification of retail store
    employees as exempt. Services included estimating damages related to unpaid overtime, missed meal and
    rest periods, and waiting time penalties in accordance with California law.

•   Consulting services to defense counsel in multi-plaintiff matter brought by employees at a restaurant chain
    alleging failure to provide meal and rest breaks. Services included analyzing timekeeping and payroll
    records related to class certification. Assisted counsel at mediation.

•   Consulting services to defense counsel in multi-plaintiff matter brought by employees at an emergency
    relief call-center alleging incorrect payment for overtime worked, late payments, and missed meal and rest
    periods. Services included analyzing time records and calculating overtime owed based on California law,
    estimating the number of missed meal and rest periods, and estimating exposure.

•   Consulting services to plaintiff counsel in multi-plaintiff action brought by pilots alleging improper payment
    and calculation of seniority during military leave. Services included analyzing large human resource
    databases in order to analyze defendant’s damages calculation.

•   Consulting services to defense counsel in multi-plaintiff matter brought by union employees at an oil
    refinery company alleging missed meal and rest breaks, uncompensated hours, and improper calculation of
    overtime hours. Services included analyzing human resources, compensation, and timekeeping data related
    to class certification and calculating exposure for use at mediation.

•   Consulting services to defense counsel in large multi-plaintiff matter brought by independent contractors
    alleging misclassification related to contracts with a large nationwide parcel pick-up and delivery company.
    Services included performing statistical analysis related to a variety of class certification issues and business
    model valuation.

•   Consulting services to defense counsel in several large multi-plaintiff matters brought by service and
    installation technicians at a cable installation contractor alleging failure to pay overtime. Services included
    analyzing installation and service records, compensation and timekeeping data, employee declarations, and
    depositions related to class certification. Services also included responding to analysis performed by
    plaintiffs’ expert.

•   Consulting services to defense counsel in multi-plaintiff matter brought by independent contractors alleging
    misclassification related to contracts with an appliance delivery and installation company. Services included
    performing statistical analysis related to a variety of class certification issues and business model valuation.

•   Consulting services to defense counsel in a wage and hour matter alleging store managers at a chain of
    convenience stores were misclassified. Services included assisting counsel in estimating exposure based on
    a variety of legal theories for mediation.



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•   Consulting services to defense counsel in a wage and hour matter brought by employees working in the
    healthcare industry alleging misclassification. Services including performing statistical analysis of
    timekeeping, payroll, cell phone, and other business records related to class certification issues. Services
    also included estimating exposure under a variety of legal theories and assisting counsel at mediation.

•   Consulting services to defense counsel in a class action wage and hour matter alleging that engineers were
    misclassified as exempt workers by a technology firm. Analyzed compensation, security badge, and
    computer log-in data and assisted counsel in developing approaches to class certification.

•   Consulting services to defense counsel in a class action matter brought by employees at a nationwide
    restaurant chain alleging off-the-clock work. Analyzed timekeeping and compensation data related to class
    certification and assisted counsel at mediation.

•   Consulting services to defense counsel in a matter alleging that a class of several hundred independent
    contractors was misclassified. Services included designing a sampling scheme, building and analyzing a
    database of business expenses, analyzing the business model, and performing business valuations related to
    a number of businesses.

•   Consulting services to defense counsel in a multi-district class action matter alleging that independent
    contractors in the package delivery business were misclassified employees. Services included analyzing the
    business model, conducting a variety of surveys, and responding to the class certification report of
    plaintiffs’ expert.

•   Consulting services to defense counsel in a wage and hour matter brought by employees at a nationwide
    convenience store alleging improper payroll deductions related to the use of pay cards. Services included
    analyzing compensation data related to class certification.

•   Consulting services to defense counsel in a wage and hour matter brought by employees working in the
    hospitality industry alleging off-the-clock work and failure to provide meal and rest breaks. Services
    included analyzing timekeeping and compensation data related to class certification.

•   Consulting services to defense counsel in a class action matter brought by employees at a satellite television
    service and installation contractor alleging failure to pay overtime. Services included analyzing service and
    installation data and compensation data related to class certification. Assisted counsel at mediation.

•   Consulting services to defense counsel in a class action matter brought by employees at a clothing retailer
    alleging that they were improperly compensated for overtime hours due to failure to incorporate bonuses
    into the regular rate of pay and were denied meals and rest periods.         Services included analyzing
    timekeeping and compensation data, assisting counsel in developing approaches to class certification, and
    assisting counsel at mediation.

•   Consulting services to defense counsel in a class action matter brought by union employees at a liquor and
    wine distribution company alleging improper expense reimbursements. Services included analyzing
    expense reimbursements, mileage reimbursements, and publicly available data on vehicle depreciation
    related to class certification.


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Employment Damages Analysis
Ms. Rose has assisted counsel in estimating employment-related economic damages in several matters. She has
expertise in evaluating but-for earnings, job search efforts, and mitigation opportunities. Assignments
representative of Ms. Rose’s experience estimating economic damages include the following:

•   Consulting services to plaintiff counsel in single-plaintiff matter alleging wrongful termination and failure
    to pay wages. Services included creating economic models to estimate economic damages under a variety
    of career path and retirement scenarios.

•   Consulting services to defense counsel in numerous matters alleging wrongful termination in the pick-up
    and delivery industry. Services included creating models to estimate economic damages and analyzing
    mitigation opportunities.

•   Consulting services to defense counsel in single-plaintiff matter alleging wrongful termination in the
    construction industry. Services included creating models to estimate economic damages, analyzing
    mitigation opportunities and various retirement scenarios.

•   Consulting services to defense counsel in single-plaintiff matter alleging wrongful termination at a server
    installation and maintenance firm. Services included creating models to estimate economic damages,
    examining job search efforts, and analyzing mitigation opportunities.

•   Consulting services to defense counsel in single-plaintiff matter alleging wrongful termination in the
    construction industry. Services included creating models to estimate economic damages under various
    scenarios, examining job search efforts, and analyzing mitigation opportunities.


Employment Discrimination Liability Analysis

Ms. Rose has performed numerous statistical analyses of liability related to class action claims of employment
discrimination. She is experienced at analyzing claims alleging discrimination in hiring, promotion, placement,
termination, discipline, and pay equity. Assignments representative of Ms. Rose’s experience in employment
discrimination include the following:

•   Consulting services to defense counsel in a class-action matter brought by the EEOC alleging age
    discrimination in terminations at a major pharmaceutical company. Services included building analytical
    databases from multiple sources of information, performing statistical analysis related to the discrimination
    claim, and estimating economic exposure.

•   Consulting services to in-house counsel in connection with a reduction in force at a major banking
    institution. Tested various reductions in force scenarios for statistical significance. Assisted counsel in
    creating a RIF plan that avoided adverse impact on protected classes.

•   Consulting services to defense counsel in a large national class action employment dispute alleging gender
    discrimination at a nationwide warehouse style retailer. Performed SAS programming and statistical

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    analyses related to hiring, initial placement, and initial pay of applicants. Performed statistical analyses of
    female availability in the external labor market.

•   Consulting services to defense counsel in a single plaintiff action alleging age discrimination by a large
    international food company. Performed SAS programming and statistical analysis of terminations.
    Analyzed the work product of opposing expert. Assisted in drafting questions for use at deposition.

•   Consulting services to defense counsel in a class action matter alleging race discrimination in the legal
    department at a construction equipment company. Performed statistical analysis related to promotions.

•   Consulting services to outside counsel in connection to performing statistical analysis of proposed
    workforce reductions at a technology company who produces semiconductors. Tested various reductions in
    force scenarios for statistical significance. Assisted counsel in creating a RIF plan that avoided adverse
    impact on protected classes.

•   Consulting services to defense counsel in a wrongful termination matter alleging race discrimination at a
    financial services institution. Analyzed networking opportunities, account distribution practices, and other
    pay data.

•   Consulting services to defense counsel in class action matter brought by the EEOC alleging gender
    discrimination at a warehouse style home and garden retailer. Performed SAS programming and statistical
    analyses related to hiring, initial placement, and initial pay of applicants.

•   Consulting services to outside counsel in connection with a reduction in force in the IT department at a
    financial institution. Tested various reductions in force scenarios for statistical significance. Assisted
    counsel in creating a RIF plan that avoided adverse impact on protected classes.

•   Consulting services to defense counsel in a class action matter alleging age discrimination at a nationwide
    communications company. Performed statistical analysis related to hiring, promotion, and termination.

•   Consulting services to defense counsel in a wrongful termination matter alleging gender discrimination at a
    financial services institution. Analyzed account distribution outcomes, pay equity, and terminations.

•   Consulting services to defense counsel in a class action matter alleging age discrimination at a major law
    firm. Performed statistical analysis related to promotion and termination.




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Forensic Accounting/Commercial Damages
Assignments representative of Ms. Rose’s experience related to analysis of disputes involving commercial
damages:

•   Consulting services to defense counsel in a breach of contract matter in the plumbing materials industry.
    Services included analyzing financial records, estimating damages, and responding to the opposing expert’s
    report. Assisted counsel in drafting questions for use at opposing expert’s deposition.

•   Consulting services to defense counsel in class-action matter where the underlying issues were allegations
    of fraudulent pricing and delivery practices at a major gasoline distribution company. Services included
    creating a sampling methodology for analyzing data, processing paper documents into an analytical
    database, and analyzing pricing and delivery outcomes.

•   Consulting services to defense counsel in matter against a California city alleging failure to pay for services
    rendered by a private tax collection company. Services included collecting and analyzing tax data,
    collection activities, and payment information to assess economic damages. Assisted counsel at mediation.


Education

University of Connecticut
Master of Arts, Survey Research

University of Southern California
Master of Arts, Economics

University of Southern California
Bachelor of Arts, Economics


Employment History

Resolution Economics LLC
      2004–Present: Partner, Director, Senior Manager, Manager, Senior Consultant, Consultant




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                                    Attachment to Resume


TESTIMONY AND AFFIDAVITS PRESENTED

In the matter of Turrow/McParlane Associates v. City of Los Angeles, Case No.: BC 372898, related
to analysis of economic losses. Report filed August 12, 2008.

In the matter of Dorsette, et al v. Travel Centers of America, LLC, Case No.: CIVRS 0905859,
related to analysis of economic losses. Declaration in support of Defendant’s Notice of Removal
filed July 16, 2009.

In the matter of Noll, et al v. Travel Centers of America, LLC, Case No.: EDCV-10-0589 VAP
(AJWx), related to analysis of economic losses. Declaration in support of Defendant’s Opposition to
Plaintiffs’ Motion for Remand filed May 17, 2010.

In the matter of Leal, et al v. Wyndham Worldwide, Corp., Case No.: 37-2009-00084708-CU-OE-
CTL, related to the calculation of hourly rates of pay. Report filed August 25, 2010.

In the matter of McCullough v. Lennar Corporation, Case No.: 09-CV-1808 WQH (BGS), related to
analysis of economic losses. Report filed September 2, 2010.

In the matter of Armstrong v. Advanced Technology Distributors, Inc., Case No.: 1:09-cv-01901-
LJO-DLB, related to analysis of economic losses. Report filed September 3, 2010.

In the matter of Coover, Valdivia, and Davis, et al v. Families First, Inc., Case No.: 108-CV-125124,
related to class certification. Reports filed July 5, 2011 and July 19, 2011.

In the matter of Perez, et al v. Saks & Company, Case No.: CGC-14-538900, related to analysis of
economic losses, Declarations in support of Defendant’s Notice of Removal filed May 30, 2014, June
26, 2014, and July 11, 2014.

In the matter of Derum, et al v. Saks & Company, Case No.: 37-2014-00023419-CU-OE-CTL,
related to analysis of economic losses. Declaration in support of Defendant’s Notice of Removal
filed August 14, 2014.

In the matter of Robinson, et al v. The Chef’s Warehouse, Inc., Case No.: 15-cv-05421, related to
class certification. Report filed October 5, 2017.
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In the matter of CRST Expedited, Inc. v. TransAm Trucking, Inc., Case No.: 1:16-CV-00052-LTS
related to analysis of lost profits and calculation of rates of pay. Declaration filed January 3, 2018.

In the matter of McLeod, et al. v. Ralphs Grocery Company, Case No.: BC321704, related to the
calculation of PAGA penalties. Declaration filed April 27, 2018.

In the matter of Fox, et al. v. TransAm Leasing, Inc., Case No.: 2:12-cv-02706-JTM-GLR related to
analysis of economic loss and review of Plaintiffs’ expert’s report. Declaration filed June 5, 2018.

In the matter of LaFace, et al. v. Ralphs Grocery Company, Case No.: BC632679 related to the
calculation of PAGA penalties. Deposition testimony May 7, 2019.

In the matter of Hedrick, et al. v. BNC National Bank, AAA Case No: 01-16-0002-2371 related to
analysis of wage and hour allegations. Report filed June 30, 2019.

In the matter of Omelet v. Parts Authority, LLC, AAA Case No. 01-20-0003-8239 related to analysis
of mileage expenses and minimum wage. Report filed December 11, 2020. Arbitration testimony
given January 26, 2021.

In the matter of Loaiza, et al. v. Kinkisharyo International LLC Case No.: 2:19-cv-07662 related to
class certification and review of Plaintiffs’ expert report. Declarations filed January 13, 2021 and
March 10, 2023.

In the matter of Armendariz, et al. v. Kinkisharyo International LLC Case No.: 19STCV32237
related to class certification and review of Plaintiff’s expert report. Declaration filed January 13,
2021.

In the matter of Morse v. Parts Authority, LLC. AAA Case No.:01-20-0003-8372 related to analysis
of minimum wage and mileage expenses. Arbitration testimony given January 19, 2021.

In the matter of DeBaker v. Route 41 Pizza, LLC. AAA Case No.:01-20-0015-3472 related to
analysis of minimum wage and mileage expenses. Report filed January 26, 2021.

In the matter of Montierth v. Parts Authority, LLC. AAA Case No.:01-20-0009-6228 related to
analysis of minimum wage and mileage expenses. Arbitration testimony given March 2, 2021.

In the matter of Pannell v. Parts Authority, LLC. AAA Case No.:01-20-0009-6223 related to analysis
of minimum wage and mileage expenses. Arbitration testimony given March 16, 2021.

In the matter of Mooney v. Domino’s Pizza, LLC, AAA Case No.: 01-20-0005-4266 related to
analysis of minimum wage, mileage expenses and review of Claimants’ expert’s report. Report filed
May 3, 2021.
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In the matter of Flynn v. Domino’s Pizza, LLC, AAA Case No.: 01-20-0000-5512 related to analysis
of minimum wage, mileage expenses and review of Claimants’ expert’s report. Report filed May 3,
2021.

In the matter of Knight v. Carpe Diem Pizza, Inc., AAA Case No.: 01-21-0002-7614 related to
analysis of mileage expenses. Report filed September 27, 2021.

In the matter of Graves v. Carpe Diem Pizza, Inc., AAA Case No: 01-21-0002-6820 related to
analysis of mileage expenses. Report filed October 15, 2021.

In the matter of Magnuson v. Exelon Corporation, Case No: 4:21-cv-04142-SLD-JEH related to
analysis of economic losses. Report filed August 1, 2022. Rebuttal report to Plaintiff’s expert filed
September 19, 2022. Deposition testimony December 19, 2022.

In the matter of Alveranga v. Carpe Diem Pizza, Inc., AAA Case No: 01-22-0000-6202 related to
analysis of mileage expenses. Report filed November 17, 2022. Deposition testimony December 15,
2022.

In the matter of Guzman, et al v. Walmart, Inc., Case No. 5:21-cv-09133-NC related to class
certification and analysis of Plaintiffs’ expert’s report. Report filed April 6, 2023.

In the matter of Fogo de Chao Wage and Hour Cases, Judicial Counsel Coordination Proceeding No.
5034, Lead Case No.: 17CV318072 related to class certification and analysis of Plaintiffs’ experts’
reports. Reports filed April 17, 2023 and March 20, 2024. Deposition testimony May 26, 2023.

In the matter of Picetti, et al v. Stryker Corporation, et al, related to analysis of economic losses.
Declaration in support of Defendant’s Notice of Removal filed July 10, 2023.

In the matter of Hernandez, et. al. v. Walmart Associates, Inc., Case No: 5:21-cv-00166-FLA (KKx),
related to analysis of timekeeping records. Declaration filed August 3, 2023.

In the matter of Castellon, et al v. Walmart Associates, Inc., Case No. 2:23-cv-7547 AB (KKx),
related to analysis of timekeeping data. Declaration filed September 7, 2023.

In the matter of Palomo v. GMRG ACQ1, LLC, AAA Case No: 01-22-0004-7815, related to analysis
of mileage expenses. Report filed October 6, 2023. Arbitration testimony given March 28, 2024.

In the matter of Shimizu v. Walmart, Inc., related to analysis of timekeeping records. Declarations
filed October 9, 2023 and November 24, 2023.
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In the matter of Holloway v. Apex Pizza Holdings, LLC, AAA Case, related to analysis of mileage
expenses. Report filed October 26, 2023.

In the matter of Zumaya v. Bam! Pizza Management, Inc., AAA Case, related to analysis of mileage
expenses. Report filed November 6, 2023. Arbitration testimony given November 14, 2023.
